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                                                                  2011 Apr-15 AM 09:08
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHEASTERN DIVISION


      UNITED STATES OF AMERICA,        *
                                            5:10-cr-471-HGD
                                       *
            vs.
                                       *    February 23, 2011 9:00 a.m.
      GEORGE W. WHITE,                 *    February 24, 2011 9:00 a.m.
                  Defendant.           *    Huntsville, Alabama

      * * * * * * * * * * * * * * * * * * * * * * * * * *
       TRANSCRIPT OF TESTIMONY OF WITNESSES AND CLOSING ARGUMENTS
               BEFORE THE HONORABLE HARWELL G. DAVIS, III
                     UNITED STATES MAGISTRATE JUDGE
      * * * * * * * * * * * * * * * * * * * * * * * * * *

      For the USA:             Derek Vincent Eichholz, Esq.
                               Stephen Smith, Esq.
                               Office of the Staff Judge Advocate
                               AMCOM-Legal
                               111 Goss Road
                               Redstone Arsenal, AL 35898

      For the Defendant:       Cecilia A. Pope, Esq.
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      Court Reporter:          Leah S. Turner, CSR, RMR, CRR
                               Federal Official Court Reporter
                               1729 5th Avenue North, Room 325
                               Birmingham, AL 35203
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 1              This cause came to be heard and was heard on
      the 23rd and 24th day of February, 2011, before the
 2    Honorable Harwell G. Davis, III, United States
      Magistrate Judge, holding court for United States
 3    District Court, Northern District of Alabama,
      Northeastern Division, in Huntsville, Alabama.
 4
                  Proceedings continued as follows:
 5
                           P R O C E E D I N G S
 6
                         (COURT CALLED TO ORDER.)
 7
                  THE COURT:    All right.    Call your first
 8
      witness.
 9
                  MR. EICHHOLZ:    Government calls Officer
10
      Michael Adams.
11
                                MICHAEL ADAMS,
12
      called as a witness by the Government, after having been
13
      sworn to speak the truth, testified as follows:
14
                            DIRECT EXAMINATION
15
      BY MR. EICHHOLZ:
16
            Q     Officer Adams, where are you employed?
17
            A     Redstone Arsenal Police Department.
18
            Q     What do you do there?
19
            A     I'm a police officer.
20
            Q     And how long have you been working there?
21
            A     One year.
22
            Q     In what capacity?     Have you been working as a
23
      police officer the entire time?
24
            A     At Redstone Arsenal, yes, sir.       I spent five
25
      years with Chattanooga Police Department.
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 1          Q     What were you doing with the Chattanooga
 2    Police Department?
 3          A     Patrol officer.
 4          Q     And are you doing patrol now?
 5          A     Patrol officer.
 6          Q     What training do you have to perform those
 7    patrols?
 8          A     When I went through the police academy in
 9    Chattanooga, we were taught on DUI detection, field
10    sobriety test, basic traffic enforcement.         We actually
11    took a written test on field sobriety test, a hands-on,
12    and we also participated in what they call a drunk tank,
13    where they brought in civilians and let them drink and
14    we had to detect how much that they had had, whether or
15    not they were possibly over the legal limit.
16          Q     Do you still do additional training regarding
17    field sobriety tests as well?
18          A     Yes, sir.
19          Q     How often do you do that?
20          A     We do that once a year, in-service training.
21          Q     It's like a refresher training?
22          A     Yes, sir.
23          Q     Who monitors that training?
24          A     The supervisors.
25          Q     I want to take you specifically to the night
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 1    of September 18th at Redstone Arsenal.         You were working
 2    that night?
 3          A     Yes, sir, I was.
 4          Q     Did you get a call to Gate 9 that night?
 5          A     Yes, sir.   There was a call that came out for
 6    a possible DUI, and I went down to back up Officer Dean.
 7          Q     When you got down there, what did you observe?
 8          A     When I first pulled up on the scene, I
 9    observed Officer Dean talking to the suspect at the
10    time, and the officer he was training had left him and
11    walked up to her car, so I moved forward with Officer
12    Dean for officer safety.
13          Q     Did you talk to him, to Officer Dean?
14          A     Yes, I did.
15          Q     What did the two of you talk about?
16          A     Initially when I stepped up I asked Officer
17    Dean if he wanted me to do a field sobriety test, and he
18    said sure, so I turned my attention to the suspect.
19    Initially we exchanged greetings, and then I asked him
20    the standard questions prior to starting the test about
21    his medical conditions, if he had any, whether or not he
22    wore glasses or contacts, if there was anything wrong
23    with his neck, back, legs, knees, and he stated that he
24    had a problem with his vision.       He couldn't fly
25    helicopters because his eyes wouldn't move.
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 1          Q     Why do you ask these questions about medical
 2    problems the individual might have?
 3          A     The first thing is to assess the condition of
 4    the suspect, try to ascertain whether he is under the
 5    influence of something; and secondly, to find out if he
 6    will be able to do the series of tests that they have to
 7    do for the field sobriety test.
 8          Q     Did you notice anything about him specifically
 9    while you were talking to him?
10          A     Yes, sir.    His eyes were glassy and red and he
11    had an odor of alcohol from him.        Not his clothes; it
12    was coming from him.      And he was a little bit uneasy on
13    his feet.
14          Q     Do you see the person you saw that night in
15    the courtroom today?
16          A     Yes, sir, I do.
17          Q     Can you please identify him for the Court?
18          A     It's the white gentleman sitting at the table
19    beside the young lady.      He has a beard.
20                MR. EICHHOLZ:    Let the record reflect the
21    witness has identified the defendant in the case.
22                THE COURT:    All right.
23          Q     So how close did you actually get to the
24    accused that night?
25          A     I got close enough.     It was within a foot, 12,
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 1    15 inches away from him.
 2          Q     You mentioned that his speech sounded slurred.
 3    Can you describe that a little bit more specifically, I
 4    guess?    What do you mean by that?
 5          A     When he would answer the questions I was
 6    asking him, his speech was slurred.        It was kind of slow
 7    and blended together.      It's hard to explain what slurred
 8    speech is.    I mean, it's slurred.
 9          Q     Did he say what he had been doing that night?
10          A     He said he had been at home drinking.
11          Q     Did you ask him where he lived?
12          A     No, sir, I did not.
13          Q     Did he give you any indication if he knew
14    where he was or anything like that?
15          A     He said he was going to the Fest, which was on
16    the other side of the Arsenal.       He thought he was at
17    Gate 10.
18          Q     He thought he was at Gate 10 and he was at
19    Gate 9?
20          A     Yes, sir.
21          Q     What is the approximate distance from Gate 9
22    to Gate 10?
23          A     If you travel from Gate 9 to Gate 10 through
24    the Arsenal, it's probably about three or four miles.
25          Q     And you could take 565 to get there as well?
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 1          A     Yes, sir, you can.
 2          Q     About what would you estimate the distance of
 3    those two gates on 565?
 4          A     Five to seven miles.
 5          Q     All right.    Now, you said that the
 6    individual -- his balance wasn't good.         What do you mean
 7    by that?
 8          A     He was swaying, kind of rocking back and
 9    forth, sideways.
10          Q     And you also said that at some point you began
11    administering standard field sobriety tests?
12          A     Yes, sir, I did.
13          Q     And, again, can you tell the jury where you
14    learned about these tests or where you learned how to do
15    these tests?
16          A     The initial training I received was with the
17    Chattanooga Police Department, and in their training
18    they took you through each of the three tests that's
19    standard for that.
20                The HGN, horizontal gaze nystagmus, is the
21    first test that is conducted.       Once you ascertain that
22    there's probable cause that the person may be under the
23    influence, then you move to the walk-and-turn.          Once you
24    conduct that test, then you conduct the one-legged
25    stand.
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 1          Q     Now, that night you did the walk-and-turn
 2    test?
 3          A     Yes, sir, I did.
 4          Q     Can you describe the walk-and-turn test?
 5          A     The walk-and-turn test is a test -- it's a
 6    divided attention test.      What you do is you place the
 7    suspect in the instructional position where they place
 8    their left foot down and place the right foot in front
 9    of the left foot, heel to toe.       You ask them to put
10    their arms down by their side and you tell them not to
11    do anything until you tell them to do so, and you ask
12    them do they understand the instructions to that point;
13    and they tell you yes or no.       If they tell you no, you
14    repeat the instructions.      If they say yes, which is the
15    case that happened that night, then you demonstrate the
16    test to them by starting them in the instructional
17    position, walking heel to toe, looking at your feet.            As
18    far as officer safety goes, I don't do that.          I watch
19    the defendant -- sorry; the suspect.
20                You are walking heel to toe, looking at your
21    toes, counting out loud, with your arms down by your
22    side.     Once you reach the ninth step, you turn to the
23    left, taking small steps, and you walk back in the same
24    manner as you walked the first time, heel to toe,
25    counting out loud.
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  1         Q     You said a lot there, and I kind of want to
  2   break down some of the things you said.         You said it's a
  3   divided attention task test?
  4         A     Yes, sir.
  5         Q     Why is it important that you do divided
  6   attention task tests?
  7         A     When someone is asked to do multiple things,
  8   what you are doing is you are asking them to process
  9   information while they are physically doing something.
 10   In this case you are asking them to stand in a certain
 11   position and not do anything other than stand there
 12   while they process the information or tell them about
 13   how to do the test.
 14         Q     So is driving a divided attention task test?
 15         A     Yes, sir.
 16         Q     How so?
 17         A     When you are driving you are doing multiple
 18   things, the radio, shifting gears, brakes, the gas,
 19   signs, other cars around you.        You are actually having
 20   to maintain control of the vehicle while you are
 21   actually thinking, having a logical thought process to
 22   operate that vehicle, and go from point A to point B.
 23         Q     So the purpose of the test, then, is to mimic
 24   these divided attention to see if you can do multiple
 25   things at one time?
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                                                                   11

  1         A     Yes, sir.
  2         Q     And so that's why you use it to gauge
  3   someone's ability to drive to determine if they are
  4   impaired?
  5         A     Yes, sir.
  6         Q     Now, you said that you did the walk-and-turn
  7   test?
  8         A     Yes, sir.
  9         Q     And you kind of outlined as far as taking nine
 10   steps forward, turning, and then nine steps backward?
 11         A     Yes, sir.
 12         Q     Can you describe how the defendant performed
 13   on that test?
 14         A     When I placed him in the instructional
 15   position, he stepped off the line and placed his feet
 16   beside each other to maintain his balance and he stood
 17   there until I was finished with the instructions.
 18         Q     You physically instructed him on a way in
 19   which to stand while you were instructing him?
 20         A     Yes, sir.
 21         Q     And then he moved his feet?
 22         A     Yes, sir.
 23         Q     And also, what did he do with his hands?
 24         A     Once he stepped off the line, his hands went
 25   back by his side.
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  1          Q    You said he stepped off the line.        What do you
  2   mean by that?
  3          A    When you are in the instructional position,
  4   your left foot is the first foot you place in position.
  5   You put your right foot in front of your left foot, heel
  6   to toe, and your arms down by your side.         So you are
  7   virtually standing in an awkward position.          And he moved
  8   his right foot so that he could support himself.
  9          Q    And so during this instructional phase, I
 10   guess it's a divided attention task as well; is that
 11   right?
 12          A    Yes, sir.
 13          Q    What must you be paying attention to at that
 14   point?
 15          A    Well, he has to pay attention to the way he is
 16   standing because that's what he was told to do, and he
 17   also has to pay attention to the person giving
 18   instructions on how to do the test.
 19          Q    And he also has to pay attention to his
 20   balance as well?
 21          A    That's part of him being in position, yes,
 22   sir.
 23          Q    So that would be the first phase.        And the
 24   second phase is actually performing the test?
 25          A    Yes, sir.
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                                                                   13

  1         Q     Okay.   Now let's talk about how he performed
  2   on that test.      How did he perform on that test?
  3         A     When he started walking, he missed heel to toe
  4   several times.      He didn't count out loud.      When he got
  5   to the ninth step, he turned the wrong way and he did a
  6   balancing movement to turn back facing the direction he
  7   came from, and then he walked back to the beginning or
  8   the finish line, if you will, in the same manner,
  9   missing heel to toe and not counting out loud.
 10         Q     Did you also administer an additional field
 11   sobriety test that night as well?
 12         A     I did, sir.
 13         Q     Did you administer the one-legged stand?
 14         A     Yes, sir, I did.
 15         Q     And can you describe the first phase of the
 16   one-legged stand test as well?
 17         A     You place them in the instructional position,
 18   which is basically him standing with his feet together,
 19   his arms down by his side, not doing anything, while you
 20   demonstrate the test, and explain what you want him to
 21   do.
 22         Q     What task are you paying attention to at this
 23   point?
 24         A     The suspect?
 25         Q     Yes.
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  1         A     He is paying attention maintaining his balance
  2   and standing the way he was told to stand while he is
  3   also watching the person that is administering the test
  4   to see how to do the test.
  5         Q     So he is also processing what you are telling
  6   him as well?
  7         A     Yes, sir.
  8         Q     Was he able to maintain his balance while he
  9   was watching you?
 10         A     He was uneasy on his feet.       He swayed.
 11         Q     And then actually as far as the actual
 12   performance portion of the test, how did he do with
 13   that?
 14         A     He raised his left foot.      He put his foot down
 15   several times, approximately three times.          He missed
 16   counting in a row.      You have to look at your foot, point
 17   your foot out.     To describe the test --
 18         Q     Please do.
 19         A     You have them stand with their arms down by
 20   their side and then you demonstrate the test.          You tell
 21   them to raise either foot approximately six inches off
 22   the ground and point it out and look down at their foot
 23   and count out loud in a manner that you want them to
 24   count, which is normally one-1000, two-1000, three-1000,
 25   and continue counting until you tell them to stop.
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  1               This gentleman, like I say, he put his left
  2   foot down approximately three times and he missed
  3   certain numbers.     It was just an indication to me that
  4   he was possibly impaired.
  5         Q     When you say he was missing certain numbers,
  6   you mean he was going from one-1000 to maybe three-1000,
  7   things like that?
  8         A     Exactly, sir.
  9         Q     Officer Adams, lastly, I want to ask you
 10   several conclusory questions.        Did the suspect pass your
 11   test?
 12         A     He performed poorly on the test.        I was
 13   trained that there is no pass or failing.          You either
 14   perform well or you perform poorly.         In the beginning
 15   when I first spoke to the gentleman, I told him I wanted
 16   to do a series of tests to make sure that he was okay to
 17   drive the vehicle, and he agreed to do the test.             At the
 18   end of the test he asked me how he did, and my reply to
 19   him was I think you are under arrest for DUI, but I'm
 20   not the responding officer.       At that time Officer Dean
 21   stepped forward and arrested him.
 22         Q     Based upon your physical observations with the
 23   individual and also his performance of the test, do you
 24   have an opinion as far as whether or not the defendant
 25   was under the influence of alcohol that night?
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                                                                   16

  1         A     Yes, sir.    He was impaired.     He was under the
  2   influence.
  3         Q     Based upon those same criteria, your training,
  4   your experience, and your interaction with the defendant
  5   that night, do you have an opinion as far as whether his
  6   normal facilities were impaired that night?
  7         A     Yes, sir.    He shouldn't have been operating a
  8   vehicle.
  9         Q     Based upon that training and experience and
 10   your observations, do you have an opinion as far as
 11   whether or not he was so impaired that he should not
 12   have been behind that vehicle?
 13         A     He should not have been behind that vehicle,
 14   the wheel of the vehicle.
 15               MR. EICHHOLZ:     Nothing further.
 16               THE COURT:    Cross-examination?
 17                           CROSS-EXAMINATION
 18   BY MS. POPE:
 19         Q     Officer Adams, I want to first thank you for
 20   calling me a young lady.       I haven't been called that in
 21   a long time, so thank you for that.
 22               Did you at any time see Mr. White operate his
 23   vehicle?
 24         A     No, ma'am, I did not.
 25         Q     Where was his vehicle at the time you arrived
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                                                                   17

  1   on the scene?
  2         A     There is an awning out at the guard shack.
  3   The vehicle was under the awning.        They use that side of
  4   the guard shack to perform inspections.
  5         Q     So he was still at the gate, then?
  6         A     Yes, ma'am.
  7         Q     So as I understand you, he was at the gate --
  8   I guess they move him around to another part of that
  9   gate; is that correct?
 10         A     Yes, ma'am.    You have an entrance gate.        When
 11   you pull forward, the guards out there, if they need to
 12   get ID or inspect the vehicle or something, they have
 13   you pull around the guard shack facing north or leaving
 14   the Arsenal.
 15         Q     And you said once you got there that Officer
 16   Dean was already on the scene; is that correct?
 17         A     Yes, ma'am.
 18         Q     What was Officer Dean doing upon your arrival?
 19         A     He was talking to the suspect and also talking
 20   with Officer Duggins, who is no longer with us.
 21         Q     So once you got there, what did you do next?
 22         A     I observed for a moment.      When Officer Duggins
 23   left Officer Dean to go back to her patrol car, I
 24   stepped forward for officer safety.         And once I stepped
 25   forward and Officer Dean saw me, I did a field sobriety
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  1   test on him.
  2         Q     Were you the only one that performed the field
  3   sobriety test that evening?
  4         A     Yes, ma'am.
  5         Q     And are you certified in performing these
  6   standardized field sobriety tests?
  7         A     Yes, I am.
  8         Q     And where did you obtain that certification?
  9         A     Chattanooga Police Department.
 10         Q     When did you obtain that certification?
 11         A     2004.
 12         Q     Have you had to go to any recertification
 13   courses since 2004?
 14         A     No, but I went through one when I started with
 15   Redstone.    They sent me through their academy and they
 16   had field sobriety test training out there.
 17         Q     Did you receive a certification from that
 18   training as well?
 19         A     Just through the academy.
 20         Q     But no specific certification in field
 21   sobriety testing?
 22         A     No, ma'am.
 23         Q     In those tests, what is a determining
 24   factor -- you said no one really passes or fails.            What
 25   is the determining factor when you consider them to be
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                                                                   19

  1   performing, as you said, poorly?
  2         A     Each test is designed with a number of clues
  3   in it.    The HGN has six clues.      The walk-and-turn has
  4   eight.    The one-legged stand has four.       It doesn't
  5   necessarily mean if he does not walk heel to toe nine
  6   times -- if he missed it nine times, that does not
  7   include nine clues.      Once he does one part of the test
  8   improperly, that's a clue.
  9         Q     Okay.   You said the walk-and-turn has eight
 10   clues, I believe you said?
 11         A     Yes, ma'am.
 12         Q     Can you tell the jury what those eight clues
 13   are, please?
 14         A     I don't know that I can recite all eight of
 15   them.     When he steps off the line, that's a clue.         When
 16   he doesn't walk heel to toe, that's a clue.          When he
 17   doesn't talk out loud or speak out loud while he is
 18   counting, that's a clue.       When he turns an improper turn
 19   or turns the wrong way, that's a clue.         When he uses his
 20   hands to keep his balance, that's a clue.          There's
 21   several things that you are looking for.
 22         Q     But you don't remember all eight of them?
 23         A     No, ma'am.
 24         Q     And you said the one-legged stand, I believe,
 25   has four clues?
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                                                                   20

  1         A     Yes, ma'am.
  2         Q     Can you tell the jury what those four are,
  3   please.
  4         A     When he uses his hands to maintain his
  5   balance, he hops, he puts his foot down, he doesn't
  6   count out loud.     He was not pointing his toe in the
  7   right direction, which is pointing outward.          When he
  8   raises his foot too high or too low.         Several things
  9   that would indicate that he is not doing what he is
 10   supposed to do.
 11         Q     Let's start with the walk-and-turn test that
 12   you performed.      How was it specifically administered?
 13   Can you tell me again?      How do you administer that
 14   particular test, the walk-and-turn?
 15         A     Do you want me to conduct a test?        Is that
 16   what you're saying?
 17         Q     I would like to have the description again of
 18   how you described to the defendant how it's
 19   administered.
 20         A     Okay.   If I was going to administer the test
 21   to you or the suspect, what I would tell them to do is
 22   place your left foot on this line, whether there was a
 23   line there or not, an imaginary line.         Place your left
 24   foot down, place your right foot in front of your left
 25   foot, standing heel to toe, which simply means that the
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                                                                     21

  1   heel of your right foot is touching the toe of your left
  2   foot.     Place your hands down beside your side and do not
  3   do anything until I tell you to do so.
  4               And basically he was standing there in that
  5   position until I demonstrate the test to you, and at
  6   that point I will tell you you are going to take nine
  7   steps walking forward, looking at your feet, counting
  8   out loud until you get to nine.        When you get to your
  9   ninth step, you are going to turn to the left in this
 10   manner, and I would take short, choppy steps turning to
 11   the left until I faced about in the direction I came
 12   from on the imaginary line or the actual line.          And then
 13   I would tell them you are going to walk back heel to
 14   toe, counting out loud, until you reach your ninth
 15   step.     And I would ask them do you understand.       And then
 16   I would tell them to begin the test.
 17               Some of the things you look for:        Do they
 18   begin early?     Do they begin before you tell them to?
 19   There is just a variety of things.        It is an attention
 20   divided test, and what you are doing is you are having
 21   them stand in that one position while you describe the
 22   test to them and then you answer any questions.              They
 23   still must maintain their balance and stay in that one
 24   position while you are talking to them.
 25         Q     Did you demonstrate to Mr. White how to
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  1   perform this test?
  2         A     I did.
  3         Q     The next test was the one-legged stand, I
  4   believe; is that correct?
  5         A     Yes, ma'am.
  6         Q     Can you explain to me again how you described
  7   to Mr. White to perform that test?
  8         A     Yes, ma'am.    After we finished the walk-and-
  9   turn I said, Okay, the next test is the one-legged
 10   stand.    What I need you to do is stand with your feet
 11   together and your hands down beside your side.          Don't do
 12   anything until I tell you to do so.         Do you understand?
 13   And his reply was yes.
 14               Then what I did was I demonstrated for him.           I
 15   said, Sir, with either foot, I don't care which, raise
 16   it approximately six inches off the ground, point your
 17   toe out, look at your foot, and count out loud as such:
 18   one-1000, two-1000, three-1000, until I tell you to
 19   stop.     Do you understand?    And he said yes.     And I said
 20   begin the test.
 21         Q     Okay.    Let me make sure I understand this.
 22   You stand on one leg, you extend it six inches off the
 23   ground?
 24         A     No, ma'am.    You extend one of your legs.       You
 25   can use either leg, either your left leg or your right
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  1   leg, and raise your foot six inches off the ground.
  2         Q     And you said something about you point your
  3   toe downward?
  4         A     You point it out.
  5         Q     Out?
  6         A     Yes, ma'am.
  7         Q     Are you talking about -- I have on four-inch
  8   heels.    Are you talking about like that (indicating)?
  9         A     Similar, yes, ma'am.
 10               THE COURT:    Would you like him to come down
 11   and demonstrate?
 12               MS. POPE:    Yes.
 13         Q     Could you please come down and demonstrate?
 14         A     Yes, ma'am.    When you have the suspect and you
 15   are ready to do the one-legged stand, you stand with
 16   your feet together and your arms down by your side.           And
 17   you tell them don't do anything until I tell you to do
 18   so.   You tell them to raise the foot off the ground
 19   approximately six inches and count out loud, and you
 20   demonstrate this is what you're asking them to do.
 21   Raise your foot out as such and you count out one-1000,
 22   two-1000, three-1000, four-1000, five-1000, six-1000,
 23   seven-1000, eight-1000, nine-1000, ten-1000, eleven-
 24   1000, twelve-1000, thirteen-1000, fourteen-1000,
 25   fifteen-1000, sixteen-1000, seventeen-1000, eighteen-
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  1   1000, nineteen-1000, twenty-1000, twenty-one-1000,
  2   twenty-two-1000, twenty-three-1000, twenty-four-1000,
  3   twenty-five-1000, twenty-six-1000, twenty-seven-1000,
  4   twenty-eight-1000, twenty-nine-1000, thirty-1000.            When
  5   they have done that, you tell them to relax.
  6         Q     All right.    So they are to count to 30
  7   seconds, basically, then.
  8         A     The test is a 30-second test.       It's timed.
  9   You don't tell them to count to 30.         You tell them to
 10   count until you tell them to stop.
 11         Q     How far did you get with Mr. White that
 12   evening?
 13         A     He got to 20-something-thousand and he missed
 14   between 13 and 17.      Somewhere through there he missed
 15   those numbers.
 16         Q     So he did up to 13 before he missed or put his
 17   foot down.    Is that what you are saying?
 18         A     No, ma'am.    He counted consecutively up to 13
 19   before he started missing numbers.        He had to place his
 20   foot on the ground three times during the test.
 21         Q     Do you remember what type of shoes Mr. White
 22   had on that evening?
 23         A     No, ma'am, I don't.
 24         Q     Do you ever take into account the type of
 25   footwear a person has on?
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  1         A     Yes, ma'am.    They have the option of removing
  2   the footware if they decide to.        It's not something
  3   that's brought up.      If you were to do the test in high
  4   heels and you didn't want to do it, you would be
  5   permitted to take your shoes off.
  6         Q     Do you remember if Mr. White left his shoes on
  7   that evening or removed his shoes?
  8         A     I do not.
  9         Q     Officer, do you think it's normal for people
 10   to make mistakes both physically and mentally when they
 11   are nervous?
 12         A     Some people.
 13         Q     Do you believe that some people get nervous
 14   when they are stopped by police officers?
 15         A     That's a natural reaction, yes, ma'am.
 16         Q     Do people make mistakes sometimes even without
 17   consuming alcohol?
 18         A     I have never tested anyone that was sober on a
 19   field sobriety test.
 20         Q     Never in the six years you have been in active
 21   duty have you ever had anybody that passed the field
 22   sobriety test?
 23         A     Can you say that again?
 24         Q     You have been a police officer approximately
 25   six years, one year at Redstone Arsenal and five years
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  1   in Chattanooga; correct?
  2         A     Yes, ma'am.
  3         Q     So in those six years you have never had
  4   anybody perform well on the field sobriety test?
  5         A     I've had people perform well, but the ones
  6   that didn't perform so well, the ones that performed
  7   poorly, they were always found to be over the legal
  8   limit.
  9         Q     You just stated that nobody -- you have never
 10   seen anybody without consuming alcohol perform on this
 11   test.     Let me restate that.
 12               I asked you if there are people who make
 13   mistakes even without consuming alcohol, and you said
 14   you had never had anybody perform who was not under the
 15   influence.    So is that a correct statement?
 16         A     No, ma'am, it's not.      What I said was I have
 17   never conducted that test on a sober person.          The people
 18   that I have come in contact with have at some point been
 19   influenced either by alcohol or drugs.         It's hard to
 20   answer that question without talking about the HGN.           So
 21   if you will permit me to talk about that, I can answer
 22   that.
 23               THE COURT:    Just answer the questions as you
 24   are asked.
 25               THE WITNESS:    Yes, sir.
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  1         A     When I come in contact with someone that may
  2   or may not --
  3               MS. POPE:    Your Honor, I don't believe there
  4   is a question.     I believe he has answered my question.
  5               THE WITNESS:    Okay.
  6         Q     So during that evening, Officer Dean never
  7   performed his own field sobriety tests?
  8         A     No, ma'am.
  9         Q     Did you ever have a discussion with Officer
 10   Dean about whether or not Mr. White had performed -- I
 11   don't want to say passed -- had performed well or
 12   satisfactorily on the test?
 13         A     No, ma'am.    Immediately after the test was
 14   over, the suspect asked me how he did and I told him I
 15   thought he would be under arrest for DUI, and that's
 16   when Officer Dean stepped forward and arrested him.
 17         Q     Was Mr. White ever belligerent with you that
 18   evening?
 19         A     No, ma'am.    He was compliant.
 20         Q     Just a couple followup questions.        You said
 21   when he did his turn on the walk-and-turn that he
 22   bounced.    Can you describe in better detail what you
 23   mean by bounced?
 24         A     When he turned, instead of taking small,
 25   short, choppy steps to turn, he did a bouncing movement
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  1   and actually left the ground with both feet.
  2         Q     Did he fall?
  3         A     No, ma'am.
  4         Q     Did he fall at any time during either of those
  5   tests, the walk-and-turn or the one-legged stand?
  6         A     No, ma'am.
  7               MS. POPE:    No further questions at this time,
  8   Your Honor.
  9               THE COURT:    Any redirect?
 10               MR. EICHHOLZ:     Yes, sir.
 11                         REDIRECT EXAMINATION
 12   BY MR. EICHHOLZ:
 13         Q     Officer Adams, did Officer Dean watch you
 14   perform the field sobriety test?
 15         A     Yes, sir, he did.
 16         Q     I also want to address another issue.            You
 17   said that you never administered the one-legged stand to
 18   anyone that you didn't believe was already under the
 19   influence of alcohol.      Is that -- or please restate what
 20   you said earlier.
 21         A     I have never administered a field sobriety
 22   test, which means all three tests, to a sober person.
 23         Q     Before you administered any test, what are you
 24   doing with that individual?
 25         A     I'm talking with them.
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  1         Q     And why are you talking to them?
  2         A     I'm trying to ascertain or obtain information
  3   that will let me know whether or not they are under the
  4   influence or they are impaired.
  5         Q     And what kind of information would you
  6   actually be trying to get from them?
  7         A     Who they are, where they are coming from.         I
  8   would ask them questions to get them talking.          What I'm
  9   looking for is how they are talking, how they are
 10   reacting to the questions I'm asking, kind of what is
 11   their thought process, are they making sense, that type
 12   thing.
 13         Q     Would you be smelling their breath?
 14         A     Yes, sir.
 15         Q     Would you be listening for slurred words?
 16         A     Yes, sir.
 17         Q     Would you be listening to see if they are
 18   making sense?     Like you said, making sense as far as
 19   directly answering the questions they are being asked?
 20         A     Yes, sir.
 21         Q     And so it's only after you have done all of
 22   that that you then administer any field sobriety tests?
 23         A     That's correct, sir.
 24         Q     So if someone passes your first field sobriety
 25   test, do you give them a second field sobriety test?
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  1         A     There is no set number that you have to do or
  2   not do.    If you make a mistake on the test, you can redo
  3   it.   However, whenever I deal with people, if I don't
  4   pick up any clues on that first test, then I don't go
  5   any further.
  6         Q     So when you say you have never given all three
  7   standard field sobriety tests to a sober person, what
  8   you're saying is, one, they failed the initial, the
  9   initial interview stage, if you will; right?
 10         A     Yes, sir.
 11         Q     They failed that first test; correct?
 12         A     Yes, sir.
 13         Q     They failed the second test; correct?
 14         A     You're talking about detection in the first
 15   phase.    I walk up to a car; I'm talking to someone; I
 16   smell the alcohol; I see something that tells me that
 17   this person may be impaired, so that gives me probable
 18   cause to start a field sobriety test.         The next step
 19   would be the HGN.      If I don't get enough clues on that,
 20   then I'm not going any further.        Just because someone
 21   has alcohol on their breath does not mean that they are
 22   impaired.    However, if you get the clues on the HGN that
 23   would support you doing the rest of the sobriety test,
 24   that's what you do.
 25         Q     But to readdress what you talked to Ms. Pope
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  1   about, when you say that you have never done all three
  2   tests or you have never done all your tests on a sober
  3   person, what you are saying is on a sober person you
  4   would have stopped before you would have completed all
  5   the tests?
  6         A     On a person that I did not have enough clues
  7   on to go to the next test, that's what I mean.
  8         Q     You would have stopped?
  9         A     I would have stopped.
 10               MR. EICHHOLZ:     Thank you.
 11               THE COURT:    Anything else?
 12               MS. POPE:    Not at this time, Your Honor.
 13               THE COURT:    All right.    You may step down.
 14   Thank you.    Next witness?
 15               MR. EICHHOLZ:     The Government next calls
 16   Officer James Dean.
 17                                JAMES DEAN,
 18   called as a witness by the Government, after having been
 19   sworn to speak the truth, testified as follows:
 20                           DIRECT EXAMINATION
 21   BY MR. SMITH:
 22         Q     Where are you currently employed?
 23         A     Redstone Arsenal Police Department.
 24         Q     How long have you been working there?
 25         A     I've been a police officer out there for about
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  1   3 1/2 years now.
  2         Q     As a police officer, what are your duties or
  3   what is your position?
  4         A     Basically patrol regulations for the safety of
  5   the citizens and enforce local laws and regulations.
  6         Q     I'm sorry.    How many years at Redstone?
  7         A     About 3 1/2 years as a police officer.
  8         Q     Prior to that do you have any other law
  9   enforcement experience?
 10         A     Yes, sir.    I was also a military policeman for
 11   three years.
 12         Q     And any other law enforcement experience
 13   beyond that?
 14         A     No, sir.
 15         Q     Prior to becoming a military police officer at
 16   the military, what training did you receive?
 17         A     Basically went through the U.S. Army military
 18   police school, went through law enforcement, a lot of
 19   different training on that, and I have also gone through
 20   the Department of Army Civilian Police Academy.
 21         Q     And that was in connection with this position?
 22         A     Yes, sir.
 23         Q     And when did you receive that training?
 24         A     That was in October of 2007.
 25         Q     As a part of that training, what all were you
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  1   trained on out there at?
  2         A     Basically went through a full curriculum of
  3   constitutional law, civil rights, recognizing DUIs,
  4   traffic enforcement, and also the arms qualifications
  5   and also emergency vehicle training.
  6         Q     I would like to focus for a minute on your
  7   training regarding recognizing DUI and impaired drivers.
  8   What type of training specifically did you receive
  9   regarding that?
 10         A     Basically went through the NHTSA standard
 11   field sobriety testing.
 12         Q     Can you expand that acronym?
 13         A     NHTSA is the National Highway Traffic Safety
 14   Administration.     It's basically a standardized system of
 15   field sobriety testing for impaired drivers.
 16         Q     And what are you taught regarding those field
 17   sobriety tests and clues to look for?
 18         A     Basically we are given three different tests
 19   to perform.     One is the HGN, one is the walk-and-turn,
 20   and one is the one-legged stand.
 21         Q     Does each test have a method to follow?
 22         A     Yes, sir.
 23         Q     And assuming that that method is followed, is
 24   that a reliable indicator of impairment by alcohol?
 25         A     Yes, sir.
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  1         Q     Besides those field sobriety tests, what other
  2   things are you instructed or taught to look for when you
  3   come in contact with a suspected drunk driver?
  4         A     Basically, you are instructed to observe and
  5   detect any odors of alcoholic beverage; behavior of the
  6   individual; divided attention test; see if they are
  7   fumbling with different things or speech; the way the
  8   individual looks; bloodshot, watery eyes; slurred
  9   speech; stuttering; fumbling with things; not being able
 10   to pull his driver's license out of his wallet; things
 11   along those lines.
 12         Q     During your training, did you perform these
 13   tests in a classroom environment as a practical
 14   exercise?
 15         A     Yes, sir, I did.
 16         Q     Was it required that you pass the practical
 17   exercise before completing your training?
 18         A     Yes, sir.
 19         Q     And did you complete that training and pass
 20   the criteria?
 21         A     Yes, sir.
 22         Q     As a part of that practical exercise, what all
 23   did you do?
 24         A     Basically, we had to perform the field
 25   sobriety tests.     They got volunteers from the fire
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  1   department, carried them to a back room.         Some of them
  2   were drinking; some weren't.       And performed the field
  3   sobriety test on the individuals.        Then we would have to
  4   try to guesstimate about what their alcohol level was.
  5         Q     And how did you progress in your training?
  6         A     Basically, pretty good.      Normally we worked as
  7   a team of three people on each individual because we
  8   had, like, 11 people in our academy and we wound up
  9   working together, looking at the clues, trying to put
 10   them together.     Most of us were pretty close to what the
 11   person blew on the PBTs.
 12         Q     As a police officer have you had the
 13   experience of using the field sobriety test in the
 14   field?
 15         A     Yes, sir, I have.
 16         Q     Can you estimate about how many times you have
 17   done it?
 18         A     Probably performed the test 25 to 30 times.
 19         Q     I would like to talk specifically about two of
 20   the tests that you already mentioned.         The first is the
 21   walk-and-turn and the next is the one-legged stand.
 22               Can you explain the walk-and-turn test and the
 23   clues that you look for and how you explain it to a
 24   suspected drunk driver?
 25         A     Well, I basically put the individual standing
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  1   pretty much at attention, one foot in front of the
  2   other, and have his arms down to his side, explain to
  3   him what you want him to do, take nine heel to toe
  4   steps, counting out loud, do a little bit of a pivot or
  5   turn, keeping one foot on the ground, go back heel to
  6   toe nine more turns and then stop.
  7               What you are looking for on the clues there:
  8   If he keeps his arms down to his side; if he is moving;
  9   whether he actually makes heel to toe contact or if he
 10   is stepping away not taking heel to toe; and whether he
 11   actually stays on a line or not, if he stepped outside
 12   and was kind of swaying.
 13               MR. SMITH:    With leave of the Court, if I
 14   could have the witness step outside the box and
 15   demonstrate.
 16               THE COURT:    You may.
 17         Q     If you could stand by the corner of this desk.
 18         A     Basically I bring them in a position like so,
 19   hands down at their side, tell them not to start the
 20   test until I have given full instructions, and I ask
 21   them do they understand what I'm saying.         Then I say
 22   when I tell you to begin the test, I want you to count
 23   one, two, three, and continue on until you count to
 24   nine.     When you get to that step, turn like so, come
 25   back and perform the test back, counting to nine again.
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  1          Q    And what clues do you look for?
  2          A    If they are not making heel to toe contact.
  3   If they are swaying, arms coming out from their side to
  4   maintain balance, or stepping off the line and
  5   stumbling.    You are also looking for the safety of the
  6   individual.     You don't want them to fall and hurt
  7   themselves.     You want to keep a close eye on them.
  8          Q    Regarding the one-legged stand test, explain
  9   the instruction on that and also the clues that you look
 10   for.
 11          A    Basically, you are having them stand at the
 12   position of attention to begin with and have them choose
 13   whichever leg they prefer, whichever is stronger, lift
 14   one of them up four to six inches off the ground, toe
 15   pointed out, looking at their toe, keeping their hands
 16   to their side, and start counting one-1000, two-1000,
 17   three-1000, until you tell them to stop.         What you are
 18   doing is watching them for 30 seconds, seeing that they
 19   can maintain their balance and catch every number as
 20   they are counting along.
 21          Q    Have you also been trained on the use of the
 22   Drager machine?
 23          A    Yes, sir.
 24          Q    And can you explain what the Drager machine
 25   does and what it tests an individual for?
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  1         A     Basically, it's testing the breath alcohol
  2   content, which also goes to blood alcohol content.             It's
  3   set up by the State of Alabama.        You take two samples.
  4   The breath samples go in for a period of about 10
  5   seconds.    It gives you a little system that you can
  6   watch them, keep them blowing through the tube.              It goes
  7   through and analyzes the sample.        Then you do a second
  8   sample and it takes the lowest sample out of the two and
  9   that's what they print out.
 10         Q     And just for clarification, how is the sample
 11   taken from the person?
 12         A     Through the breath, from their blowing through
 13   a tube.
 14         Q     So they are holding a device?
 15         A     Basically, we hold the device and they put
 16   their lips around the mouthpiece and they blow into it
 17   until we tell them to stop, and then wait for the sample
 18   to go through.
 19         Q     Is the Drager machine a portable test or is
 20   it something at the station?
 21         A     It's stationed at the station.
 22         Q     To use the Drager machine, does that require
 23   training?
 24         A     Yes, sir.
 25         Q     Does it require certification?
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  1         A     Yes, sir.
  2         Q     And have you received that certification?
  3         A     Yes, sir, I have.
  4         Q     From what agency have you received that
  5   certification?
  6         A     Alabama Department of Forensic Science.
  7         Q     And is your certification current?
  8         A     Yes, sir.
  9         Q     Does the Drager machine allow you to operate
 10   it if your certification is not current?
 11         A     No, it does not.
 12         Q     How does that work?
 13         A     Each individual operator has their own ID that
 14   they put into it, and if your ID is not current it will
 15   not let you use the machine.
 16         Q     Without a valid certification, the machine
 17   will not operate?
 18         A     Correct.
 19         Q     Were you on duty on the night of 18 September
 20   2010?
 21         A     Yes, sir.
 22         Q     And what shift were you on and what were your
 23   duties that evening?
 24         A     I was on second shift, patrol two, which is
 25   north housing, right in that area.
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  1         Q     And second shift covers what hours?
  2         A     We go into work at 130 to 2215.
  3         Q     In the course of your duties, did you have
  4   contact with a Mr. George White?
  5         A     Yes, sir, I did.
  6         Q     Do you recognize Mr. White in the courtroom?
  7         A     Yes, sir.
  8         Q     And can you identify him?
  9         A     The gentleman sitting at the table right
 10   there.
 11               MR. SMITH:    Let the record reflect that the
 12   witness has identified Mr. George White as the
 13   defendant.
 14               THE COURT:    It will.
 15         Q     What caused you to come in contact with
 16   Mr. White that evening?
 17         A     Basically I was dispatched to Gate 9 for a
 18   possible DUI.
 19         Q     And when you approached Gate 9, what did you
 20   observe?
 21         A     When I approached Gate 9, I saw Mr. White at a
 22   GMC Sonoma pickup truck, extended cab.         He was the
 23   operator of the vehicle.       He also had a female passenger
 24   in the passenger's seat and two female juveniles in the
 25   extended cab.
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  1         Q     A simple question:     How did you know he was
  2   the operator of the vehicle?
  3         A     He was sitting in the driver's seat.
  4         Q     Did you have another officer with you that
  5   night?
  6         A     Yes, sir.    A probationary officer, Ms. Wanda
  7   Duggins, who was training with me that night.
  8         Q     So you were training Ms. Duggins?
  9         A     Yes, sir.
 10         Q     Once you arrived on the scene, did you
 11   interact with Mr. White?
 12         A     Actually, when we first arrived on the scene,
 13   I instructed Ms. Duggins to approach on the driver's
 14   side as I was observing her and if she detected any odor
 15   of alcoholic beverage or anything that would lead her to
 16   believe that the individual was indeed intoxicated, to
 17   go ahead and have him exit the vehicle and step to the
 18   rear of the vehicle.
 19         Q     How far away were you from Ms. Duggins?
 20         A     I was on the other side of the vehicle,
 21   approaching on the passenger's side, to keep an eye out
 22   for officer safety and watched her.         She looked at me
 23   and motioned for Mr. White or instructed him to exit the
 24   vehicle, step to the rear.       I stepped back to the rear
 25   driver's side bumper and watched him exit the vehicle
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  1   and start walking towards the back.
  2         Q     Is it correct to say that you were on the
  3   passenger's side of the rear of the vehicle when you got
  4   the signal from Officer Duggins and then you shifted
  5   over to the driver's side of the vehicle?
  6         A     That's correct.
  7         Q     And then you said that you saw Mr. White exit
  8   the vehicle and walk towards you?
  9         A     Yes, sir.    Basically he was staggering a
 10   little more than walking and he stopped about to the
 11   rear wheel well before going to the rear of the truck.
 12   He had to be instructed again to step to the rear of the
 13   vehicle.
 14         Q     Was he using anything for balance?
 15         A     He actually placed his hand on the bed of the
 16   truck twice while he was walking back to the back of the
 17   vehicle.
 18         Q     And you said it was more of a stagger?
 19         A     Yes, sir.    It wasn't really a walk.      He was
 20   kind of uneasy on his feet, I guess.
 21         Q     Once Mr. White did get to the back of the
 22   vehicle, what happened at that point?
 23         A     Basically, at that point I took charge of the
 24   individual.     I asked him if he had any weapons or
 25   anything on him that I need to know about.          He stated he
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  1   did not.    I informed him I was going to perform a Terry
  2   frisk for officer safety, everybody's safety.          I patted
  3   him down.    As I started patting him down, I detected a
  4   strong odor of alcoholic beverage coming from his
  5   person.    I patted him down; found no weapons.
  6         Q     If could stop you.     Can you explain what a
  7   Terry frisk is, please.
  8         A     Basically it's a search for weapons for the
  9   officers' involvement, safety for the officers and
 10   anybody else there.      Basically, it's just a quick
 11   pat-down.    Basically, we're looking for weapons, knives,
 12   anything that might endanger myself, my partner, or
 13   anybody else there at the scene.
 14         Q     Where do you start patting the person down?
 15         A     I started with the top shoulders and patted
 16   him down.    Basically, you want to bring the hands to the
 17   back, rest the hands together, hold onto them with one
 18   and just pat-down in quarters down one side and switch
 19   over and go down the other side.
 20         Q     Is it safe to say that you are in close
 21   proximity to the person?
 22         A     Yes, sir.
 23         Q     And when you did that, you said that you did
 24   detect a strong odor of alcohol?
 25         A     Yes, sir.
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  1         Q     Putting it on a scale of 1 to 10, how strong
  2   was the odor of alcohol?
  3         A     It was pretty stout.      I would say probably
  4   about an 8.
  5         Q     Once you detected the odor of alcohol, what
  6   did you do at that point?
  7         A     I explained to him that, number one, he was
  8   suspected of driving under the influence of alcohol,
  9   that I wanted him to perform some field sobriety tests,
 10   and I asked him if he had had anything to drink, and he
 11   stated that he had had a couple of drinks before he left
 12   the house.
 13         Q     Did he mention what type of drinks?
 14         A     No, sir, he didn't.
 15         Q     Was it generally understood that it was
 16   alcohol he was referring to?
 17         A     Yes, sir.
 18         Q     While he was speaking to you, can you describe
 19   his speech?
 20         A     Basically, his speech was a little slurred.
 21   When he first approached, his eyes were bloodshot,
 22   watery.    He was slurring his speech a little bit.          He
 23   asked me if I knew Pat Stewart, which was the captain
 24   that recently retired from Redstone Arsenal Police
 25   Department.     He said he went to high school with him.          I
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  1   said yes, he just retired.       He was speaking, was
  2   friendly, but he was still slurring his speech a little
  3   bit, and I detected the odor of alcohol.
  4         Q     So he was giving more than just one-word
  5   answers?
  6         A     Yes.
  7         Q     And you were able to make a good assessment on
  8   his quality of speech?
  9         A     Yes, sir.
 10         Q     You described his eyes.      Can you say that one
 11   more time?
 12         A     They were bloodshot and watery.        Basically
 13   it's one of the things that we are looking for as far as
 14   somebody intoxicated or doing some type of drugs or
 15   anything when we are dealing with the general public,
 16   especially in a situation like that.
 17         Q     You detected the odor, and his eyes, his
 18   speech.    Based on that, what did you decide to do next?
 19         A     That's when we decided to administer the field
 20   sobriety test to check the level of his intoxication.
 21         Q     Did you explain to him the field sobriety test
 22   that you were about to administer?
 23         A     Yes, sir.
 24         Q     As it relates to the walk-and-turn test, did
 25   you explain it in a way that you just explained it to
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  1   me?
  2         A     Yes, sir.
  3         Q     Did Mr. White have any questions or did he
  4   misunderstand while you were explaining?
  5         A     No.   He said that he understood everything as
  6   he was performing the tests.
  7         Q     At any point while you were administering the
  8   tests, did you have to reexplain things to Mr. White?
  9         A     No, sir, I don't recall having to reexplain
 10   anything to him.
 11         Q     In the area where you were administering the
 12   walk-and-turn test, do you remember any obstructions on
 13   the ground?     Or can you describe the terrain in general?
 14         A     Basically, he was on a blacktop where the
 15   turn-around lane was, and I had Officer Duggins move our
 16   vehicle back a little bit because I didn't want to
 17   perform the test in front of the two little girls in the
 18   vehicle.
 19               So I got him to the rear of the vehicle, kind
 20   of outside of them where they would have to really
 21   strain their necks to see what was going on, and that's
 22   where we performed it, on a level surface.
 23         Q     Can you describe Mr. White's performance on
 24   the walk-and-turn test?
 25         A     The walk-and-turn, I said he wasn't walking
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  1   heel to toe.     I think he hit maybe four times out of
  2   nine, and then he did kind of a bouncing around instead
  3   of the pivot turn, like I was showing you how to do.
  4   And the walk back, he was off the line a couple of times
  5   and he wasn't making the heel to toe contact.
  6         Q     What did those clues indicate to you?
  7         A     Basically, it showed that he was intoxicated.
  8   As far as the level, probably within about a one-one or
  9   more.
 10         Q     After you administered the walk and turn, what
 11   happened at that point?
 12         A     At that point in time Officer Adams approached
 13   and offered to take over, and he went ahead and took
 14   over and did the whole standardized field sobriety test.
 15         Q     Starting from the beginning?
 16         A     Yes, sir.
 17         Q     Once Officer Adams took over, did you observe
 18   Officer Adams administer this test?
 19         A     Yes, sir.
 20         Q     How far would you say you were from Officer
 21   Adams?
 22         A     I was probably within four to five feet from
 23   Officer Adams as he was explaining the test and on a
 24   90-degree angle from Mr. White so I could keep an eye on
 25   him and on Officer Adams for officer safety.
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  1         Q     Could you hear what Officer Adams was saying?
  2         A     Yes.
  3         Q     Could you hear anything that the defendant was
  4   saying?
  5         A     Yes, sir.
  6         Q     And were you able to observe Mr. White's
  7   performance on the field sobriety test that Officer
  8   Adams administered?
  9         A     Yes, sir.
 10         Q     What did you observe on his performance?
 11         A     On the walk-and-turn, he did the same thing.
 12   He wasn't counting the steps off like he was supposed to
 13   during that, and he wasn't hitting heel to toe.              He
 14   stepped off line two or three times and had to bring him
 15   back.     Instead of doing the pivot turn, he kind of
 16   hopped around and turned around and walked back.
 17         Q     Just to back up, when you first approached the
 18   car, besides the defendant, who else was in the vehicle?
 19         A     There was the defendant's girlfriend, Teresa
 20   Ivy, I believe her name was, and two small juvenile
 21   children in the back of the extended cab truck.
 22         Q     Jumping forward, when Officer Adams was
 23   explaining the test, did he explain those tests based on
 24   the training that you had received and did he do those
 25   correctly?
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  1         A     Yes, sir, he did.
  2         Q     After Officer Adams concluded his testing,
  3   what occurred at that point?
  4         A     After he concluded both tests, Mr. White was
  5   placed under apprehension, preparing to transport him to
  6   the station.     We asked him if he wanted his girlfriend
  7   to drive the vehicle home, and he stated that she
  8   couldn't drive a stick shift, so I asked him for his
  9   permission to secure the vehicle at the scene and called
 10   a cab for Ms. Ivy and the two children.
 11         Q     Why couldn't Ms. Ivy, based on your
 12   understanding, drive the vehicle?
 13         A     He stated she could not drive a stick shift.
 14         Q     And I'm assuming that the truck was a stick
 15   shift?
 16         A     Yes, sir.
 17         Q     Did you see the juvenile children when they
 18   were exiting the vehicle?
 19         A     Yes, sir.
 20         Q     Could you guess about what ages they were?
 21         A     I would say probably 6 to 7, 8.        They were
 22   fairly young children.
 23         Q     Under the age of 10, would you say?
 24         A     Yes.
 25         Q     Again, based on your observations and your
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  1   experience, what prompted the decision to take Mr. White
  2   to the police station?
  3         A     The failure of the field sobriety test and in
  4   conjunction with also the other observations that we
  5   made as far as the way he was walking, speech, and the
  6   odor of the alcoholic beverage.
  7         Q     When you got to the station, who operated the
  8   Drager?
  9         A     I did.
 10         Q     When you are about to administer a Drager
 11   machine test to an individual, what procedures do you go
 12   through?
 13         A     The first thing you do is you have to give
 14   them a 20-minute deprivation period.         That's 20 minutes
 15   that you have control of the individual where he cannot
 16   put anything in his mouth, he is not burping or throwing
 17   up or anything.      If he does burp, then you have to start
 18   the deprivation period all over again.         As soon as you
 19   get that taken care of or while you are doing that, you
 20   get the Alabama implied consent and make sure that he
 21   understands that.      He read that and he said he
 22   understood it but said he was not going to take the
 23   test.     I said I understood that but we still have to do
 24   this; I have to document your refusal.         As the machine
 25   warmed up, gotten everything take care of, I asked him
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  1   again if he would submit to the test and he said no.              So
  2   I put in his refusal, waited for the paperwork, and
  3   locked him up in the D-cell.
  4         Q     Did you read to him the Alabama law of implied
  5   consent?
  6         A     Yes, sir.
  7         Q     Can you explain one more time what implied
  8   consent is, based on your understanding?
  9         A     What it is, anybody that has an Alabama
 10   driver's license gives the consent to a blood alcohol
 11   test, either by breath or blood, and if they deny that,
 12   then their driving privileges are suspended for a period
 13   of at least 90 days.
 14         Q     So, in essence, by the virtue of the fact of
 15   having an Alabama state driver's license, you have
 16   already consented to doing these tests if you're asked
 17   to by a police officer.       Is that a correct summary?
 18         A     Yes.
 19         Q     And did Mr. White understand that when you
 20   explained that to him?
 21         A     Yes, sir.    He stated that he did.
 22         Q     And he didn't indicate anything otherwise?
 23         A     No, sir.
 24         Q     And so ultimately you ended it as a refusal to
 25   the Drager test; is that correct?
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  1         A     That's correct.
  2         Q     And after the refusal on the Drager test, what
  3   occurred after that?
  4         A     From that point in time I basically explained
  5   to him that he would be locked up in the D-cell for 12
  6   hours, and I believe that was right about 2030 hours.
  7   I'm not sure what time he was released the next
  8   morning.    But we went ahead and had his shoes taken off,
  9   belt, stuff like that, made sure he didn't have stuff in
 10   his pockets, and put him in the D-cell and secured him
 11   for the night.
 12         Q     What is the ticket out of the detention cell?
 13   How does one get out of --
 14         A     You basically have to have your blood alcohol
 15   content down to an acceptable level, which is usually
 16   down below .04, .03.      And depending on how some of them
 17   do, some of them call a cab.       If they want to drive
 18   their vehicle, you try and get them below zero.
 19   Normally on a refusal where we didn't have anything to
 20   go on, 12 hours is the minimum on that.
 21         Q     Not that it happened in this case, but where a
 22   person -- at the end of 12 hours, they will be about the
 23   legal limit, would you let them --
 24         A     They would be staying a few more hours until
 25   their blood alcohol content came down.
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  1         Q     In summary, relying on all your observations
  2   that night and your interaction with Mr. White and based
  3   on your training, experience, and knowledge that you
  4   received through your own experience, did you form an
  5   opinion on Mr. White's ability to operate a vehicle?
  6         A     Yes, I did.
  7         Q     And what was that opinion?
  8         A     Basically, that he was intoxicated and should
  9   not be operating a vehicle.
 10         Q     And based on that opinion, the decisions you
 11   made, were they in line with the training and experience
 12   that you received?
 13         A     Yes, sir.
 14               MR. SMITH:    May I have a minute, Your Honor?
 15               THE COURT:    Yes.
 16               MR. SMITH:    That's all the questions I have.
 17   Thank you, Your Honor.
 18                           CROSS-EXAMINATION
 19   BY MS. POPE:
 20         Q     Good afternoon, Officer Dean.       I'm sorry if I
 21   have to repeat some of these questions, but I just need
 22   to make sure that I got some of the answers correct, so
 23   I'm sorry if I sound redundant.
 24               At any time did you see the defendant,
 25   Mr. White, operate the vehicle?
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  1         A     Mr. White was basically stopped at Gate 9 in
  2   control of the vehicle, sitting in the driver's seat,
  3   where the guards had stopped him.
  4         Q     So when you say "basically stopped," you mean
  5   he had already pulled around to the side?
  6         A     Yes, ma'am.    He was already stopped on the
  7   side there.     He was still in control of the vehicle and
  8   the keys.    I believe the guards had taken the keys away
  9   from him.
 10         Q     You said there were some passengers with him
 11   as well?
 12         A     Yes, ma'am.
 13         Q     Where were they at the time you arrived on the
 14   scene?
 15         A     They were inside the vehicle.       The adult
 16   female was sitting in the passenger's side and the two
 17   small children were in the back of the extended cab.
 18         Q     Who was on the scene at the time you arrived?
 19         A     Basically, we had -- it was two or three
 20   security contract officers over there.         Officer Caudle,
 21   I believe was her name, was the one that was actually in
 22   charge and stopped the vehicle and had him stopped
 23   there.
 24         Q     Then at some point you perform some field
 25   sobriety testing; is that correct?
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  1         A     Yes, ma'am.
  2         Q     You did, I believe you said, the walk-and-
  3   turn?
  4         A     Yes, ma'am.
  5         Q     Did you also perform the one-legged stand?
  6         A     No, ma'am.    Officer Adams came up and took
  7   over and we started the field sobriety test.
  8         Q     But you did some testing on your own prior to
  9   Officer Dean arriving on the scene?
 10         A     Officer Adams.
 11         Q     -- Officer Adams.     I'm sorry.
 12         A     Yes, ma'am.
 13         Q     Was he there at any time when you were
 14   performing the walk-and-turn?
 15         A     I think he was back from behind the vehicles,
 16   and when he saw that the trainee that I had was not
 17   moving forward, he came forward for officer safety.
 18         Q     What was not moving forward?
 19         A     The trainee that I was training, Officer
 20   Duggins, that was riding with me that night, I had
 21   assumed she came up because I was keeping an eye on the
 22   subject and she was still at the back of the vehicle,
 23   and that's why he came forward.
 24         Q     So you had a trainee there as well?
 25         A     Yes, ma'am.
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  1         Q     Okay.   Are you certified in administering the
  2   standardized field sobriety test?
  3         A     Yes, ma'am.
  4         Q     Where did you obtain your certification?
  5         A     Actually, I was trained on it at Aberdeen
  6   Proving Ground.
  7         Q     And when did you receive your certification?
  8         A     That was back in October of 2007.        I actually
  9   graduated from the academy in December of that year.
 10         Q     And have you had to go back to get recertified
 11   at any point?
 12         A     No, ma'am.    We do annual training every year.
 13   That's part of our 40 hours of annual training.
 14         Q     So you receive 40 hours of additional training
 15   every year?
 16         A     40 hours of regular police training that we do
 17   every year to keep up to speed on things.
 18         Q     So how much of that 40 hours is devoted to the
 19   field sobriety testing?
 20         A     Last year I think we had maybe four hours that
 21   went to that.
 22         Q     In this certification training did they teach
 23   you as to what constitutes passing and failing a
 24   particular test?
 25         A     Yes, ma'am.
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  1         Q     Let's start with the walk-and-turn since you
  2   actually performed that one.       How many clues are
  3   indicative of that particular test?
  4         A     I believe that one, there are six or eight
  5   clues that are indicative on that one.
  6         Q     And can you tell the jury what those clues
  7   are, please?
  8         A     Basically, it's being able to maintain a
  9   straight line walking, making sure heel to toe comes in
 10   contact as they take each step, and also counting out
 11   loud.
 12         Q     And what constitutes failing the test, then?
 13         A     The thing is you can add up the number of
 14   clues from each step that they miss and stepping off the
 15   line using their arms to maintain their balance.
 16         Q     Is there a certain percentage of clues you
 17   have to fail?
 18         A     Basically, went through there -- usually on
 19   the walk-and-turn -- I'm trying to remember exactly what
 20   it was stated -- anything over six is a failure of the
 21   test.
 22         Q     Were you there or did you perform the
 23   one-legged stand?
 24         A     No, ma'am.    I was there when it was being
 25   performed, but I did not perform it.
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  1         Q     And you were able to observe Mr. White taking
  2   the one-legged stand test?
  3         A     Yes, ma'am.
  4         Q     Can you tell the jury how many clues are
  5   indicative of that particular test?
  6         A     I believe -- I want to say there was four of
  7   them on that.
  8         Q     I'm sorry?
  9         A     I believe there was four of them on that, as
 10   far as maintaining your balance, keeping your foot off
 11   the ground.     The thing is on the clues, if they touch
 12   the ground more than once, that's another clue.              It adds
 13   up.
 14         Q     So how many clues do they have to perform
 15   poorly on before they fail?
 16         A     On that, if they can't keep their foot up, if
 17   they are not counting out loud, if you have four to six
 18   times of touching -- four of those clues that come up as
 19   far as touching the ground, not maintaining their
 20   balance, holding their arms up, they basically fail the
 21   test.
 22         Q     On the one test that you performed, did you
 23   explain to Mr. White how to perform that test?
 24         A     Yes, ma'am.
 25         Q     And can you tell the jury again what exactly
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  1   you told him?
  2         A     Basically, just what I told him before,
  3   basically standing in a position one foot in front of
  4   the other, take nine steps forward.         On the ninth
  5   step -- counting out loud each step.         On the ninth step,
  6   do a pivot turn, come back and count nine more back.
  7         Q     Is it always nine steps?
  8         A     Yes, ma'am.
  9         Q     And they are supposed to keep one leg on the
 10   ground and turn; is that correct?
 11         A     Right.   Well, the one foot, they can move it
 12   and pivot it, but the other one is to step around.           That
 13   way they are not hopping around.        I have actually seen
 14   them jump and spin around, which we don't want them to
 15   hurt themselves.
 16               If they are off balance, stepping off the
 17   line -- usually it's an imaginary line.         If we do have a
 18   real line, we do that.      If it's an imaginary line, just
 19   keep their feet heel to toe and walk those nine steps.
 20         Q     Do you remember what type of footware
 21   Mr. White had on that evening?
 22         A     I really don't recall.      I want to say they
 23   were loafers, but I couldn't swear to that.
 24         Q     You said Officer Adams approached at what
 25   point?
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  1         A     He approached about the time I finished the
  2   walk-and-turn test and offered to do the field sobriety
  3   test and take over.
  4         Q     And at that point he took over?
  5         A     Yes, ma'am.
  6         Q     Did he begin all the tests over again?
  7         A     Yes, ma'am, he started back.
  8         Q     Was there a reason he started completely over
  9   again?
 10         A     Basically, just to keep with the flow of how
 11   things go.
 12         Q     Was he aware that you had already performed
 13   certain tests before he arrived?
 14         A     Yes, ma'am.
 15         Q     At what point did you take Mr. White into
 16   custody?
 17         A     At the point that Officer Adams had completed
 18   all the field sobriety tests, we determined that he was
 19   under the influence of alcohol and we took him in.
 20         Q     Where was his vehicle at the time you took him
 21   into custody?
 22         A     Basically, it was still in the turn-around
 23   lane at Gate 9, by the rear edge of the gate.          And at
 24   that time I asked him if he wanted to let his girlfriend
 25   drive the vehicle home, and he told us that she could
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  1   not drive a stick shift.       We explained to him what we
  2   were going to do is take him up, put him on the Drager,
  3   and he would spend whatever time to get his blood
  4   alcohol down, and he could pick his vehicle back up.              At
  5   that point in time he wanted his keys and his wallet
  6   given to his girlfriend.       And since she couldn't drive a
  7   stick shift, we dispatched a cab to take them home.
  8         Q     Where did the vehicle go after that?
  9         A     Basically, I started the vehicle up, moved it
 10   out of that spot and pulled it right in front of the
 11   gate and rested it there, secured it at the scene, and
 12   gave the keys to his girlfriend.
 13         Q     So the vehicle was left there, then, basically
 14   near the gate?
 15         A     Yes, ma'am, right there at the gate.
 16         Q     And then you went to the police station on the
 17   Arsenal?
 18         A     Yes, ma'am.
 19         Q     What happened after you arrived at the
 20   station?
 21         A     Basically, we moved him inside, took the
 22   handcuffs off of him, sat him in a chair, explained the
 23   procedure to him, gave him the implied consent, told him
 24   about the Drager, and he refused to blow.          I said, I
 25   understand; I'm still waiting for the machine to put the
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  1   information in.     As soon as it got warmed up, I asked
  2   him again if he would submit to the test, which he
  3   refused to do so, and I put him down as a refusal,
  4   printed out the forms, and at that time we locked him up
  5   in the D-cell.
  6         Q     You said you explained to him the implied
  7   consent law?
  8         A     Yes, ma'am.
  9         Q     Did you believe he understood that law?
 10         A     Yes, ma'am.    I asked him if he understood it,
 11   and he stated he did.
 12         Q     So you don't believe he was too intoxicated to
 13   the point where he couldn't understand that?
 14         A     No, ma'am.
 15         Q     When did you lock Mr. White up?
 16         A     I would say approximately 2045 hours.
 17         Q     So approximately 8 --
 18         A     Somewhere 8:30, 8:45.
 19         Q     And, if you know, what time he was released
 20   the next morning?
 21         A     I really don't recall.      I wasn't there in the
 22   morning that they released him.        That was taken care of
 23   by day shift.
 24         Q     What is the typical amount of time that you
 25   detain somebody if they refuse to blow the Drager?
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  1         A     It's a 12-hour period.
  2         Q     Is there any reason to believe that he was
  3   kept any longer that the 12 hours?
  4         A     Not that I'm aware of.
  5         Q     Did you have any conversation at all with
  6   Ms. Ivy or the children that were in the back seat?
  7         A     No, ma'am, I did not.
  8         Q     I believe you said you asked Mr. White if he
  9   had had any alcohol that evening?
 10         A     Yes, ma'am.
 11         Q     And, again, what did he tell you?
 12         A     Basically, I asked if he had had anything to
 13   drink, and he stated he had had a couple of drinks
 14   before he left the house.
 15         Q     And by "drinks," I'm assuming you meant
 16   alcoholic beverages?
 17         A     Yes, ma'am.
 18         Q     At any time while in your presence did
 19   Mr. White ever lose his balance to the point that he
 20   fell down?
 21         A     No, ma'am.
 22         Q     Was he ever belligerent or rude?
 23         A     No, ma'am.    He was very compliant.
 24               MS. POPE:    No further questions at this
 25   point.
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  1               THE COURT:    All right.    Thank you.    Anything
  2   further?
  3               MR. SMITH:    Yes, Your Honor.
  4                          REDIRECT EXAMINATION
  5   BY MR. SMITH:
  6         Q     When you approached the scene, Officer, were
  7   you aware where the defendant was sitting?
  8         A     Where was he sitting?
  9         Q     Right.
 10         A     He was in the driver's seat of the '98 GMC
 11   Sonoma.
 12         Q     Was there any reason to believe that he did
 13   not drive his vehicle onto the Arsenal?
 14         A     No, sir.
 15         Q     No indication that somebody else drove?
 16         A     No, sir.
 17         Q     Who made the final decision to transport or
 18   essentially arrest Mr. White?
 19         A     Officer Adams and myself.       Since Officer Adams
 20   completed all the field sobriety tests, that's where the
 21   determination was made.
 22         Q     To summarize, what observations led you to
 23   make that decision?
 24         A     Basically, it was the failure of the field
 25   sobriety tests, also the slurred speech, his appearance,
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  1   and at point in time it was felt he was too intoxicated
  2   to be driving the vehicle.
  3          Q    If someone has footware that might compromise
  4   their performance on the test, do you invite them to
  5   take those off?
  6          A    Yes.   They are given the opportunity to.        I've
  7   had people with sandals or flip-flops that they take
  8   off.
  9          Q    Had Mr. White had some sort of compromising
 10   footware, do you believe you would have noticed that?
 11          A    Yes, sir.    And we also ask about any medical
 12   conditions at the beginning of the field sobriety test,
 13   anything that might impair them.
 14          Q    Do you remember Mr. White saying anything to
 15   you at all about his medical condition?
 16          A    The only comment he made was something about
 17   he couldn't fly helicopters because his eyes didn't
 18   follow things.
 19          Q    But as far as being able to walk or to do the
 20   other tests, he made no mention of any medical issues?
 21          A    No, sir.
 22               MR. SMITH:    No further questions, Your Honor.
 23               THE COURT:    Anything else?
 24               MS. POPE:    Yes, Your Honor.
 25
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  1                         RECROSS EXAMINATION
  2   BY MS. POPE:
  3          Q    Officer Dean, who made the determination that
  4   Mr. White needed to be detained for possibly being under
  5   the influence?
  6          A    As far as us taking him to the station or just
  7   the detention?
  8          Q    Either one, or both.
  9          A    Basically, myself and Officer Adams both came
 10   to that conclusion and we transported him to the
 11   station.
 12          Q    Did you ever have a conversation with Officer
 13   Adams about whether or not he needed to be detained for
 14   being under the influence?
 15          A    No, ma'am.    Basically, when we are doing --
 16   when we're watching an officer performing these tests
 17   and we see that he is failing it and both of us make an
 18   agreement to go ahead and put the cuffs on.          So as soon
 19   as he completed it, we spun him around and we put the
 20   cuffs on and told him he was going to the station for
 21   DUI.
 22          Q    You said that he never said anything about a
 23   medical condition; is that correct?
 24          A    No, ma'am.
 25          Q    Didn't he, in fact -- and it's included in the
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  1   report -- tell you that he had diabetes and he asked
  2   you -- I guess teased you about Jimmy Dean and asked you
  3   for a sausage biscuit to eat?
  4          A     Yes, ma'am.   That was brought to our attention
  5   after we had put him in the D-cell and Sgt. Gorman and
  6   myself both went back there and he said he wanted a
  7   sausage biscuit, he was hungry, and we didn't have
  8   anything.     There was nothing open at that time to get
  9   him unless we went to Oktoberfest and purchased him
 10   something, but we just explained to him that we didn't
 11   have anything to eat, and he said that he had diabetes.
 12   So we tried to reach his girlfriend to confirm that or
 13   not.    But, again, when we first initiated the field
 14   sobriety test, he said he had no medical conditions,
 15   other than his eyes not being able to follow.
 16          Q     Were you ever able to verify with his
 17   girlfriend about his diabetes?
 18          A     No, ma'am.    She would not answer the phone at
 19   home.      We left a message and never heard anything back
 20   from her.
 21                MS. POPE:    No further questions.
 22                THE COURT:    Anything else?
 23                MR. SMITH:    No, Your Honor.
 24                THE COURT:    You may step down.
 25                Ladies and gentlemen, at this time we are
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  1   going to take about a 15-minute break and help you wake
  2   up.   Downstairs there are snacks and drinks.         If you
  3   have any questions, ask my courtroom deputy.          See you
  4   back in a few minutes.
  5               (Jury is no longer present.)
  6               THE COURT:    All right.    The jury is out of the
  7   courtroom at this time.       Does the Government have any
  8   further witnesses?
  9               MR. SMITH:    No, Your Honor.
 10               THE COURT:    Do you rest at this time?
 11               MR. SMITH:    Yes, Your Honor.
 12               THE COURT:    Do you have a motion for the
 13   record?
 14               MS. POPE:    Your Honor, the defense makes a
 15   motion for a judgment of acquittal based on the fact
 16   that the Government failed to prove that he was
 17   intoxicated to the point that he could not safely
 18   operate a motor vehicle.
 19               THE COURT:    That's denied.     Are you ready to
 20   go?
 21               MS. POPE:    Yes, Your Honor.
 22               THE COURT:    I will let you rest when the jury
 23   comes back.     And you have two witnesses?
 24               MS. POPE:    Yes, sir.
 25               THE COURT:    All right.    Which one are we doing
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  1   first?
  2               MS. POPE:    Her name is Teresa Ivy.
  3               THE COURT:    She is the lady that was in the
  4   courtroom a minute ago?
  5               MS. POPE:    Yes, sir.
  6               THE COURT:    All right.    Take about a 15-minute
  7   break.    Go ahead and do that.
  8               (Recess.)
  9               (Back in open court.)
 10               (Jury is not present.)
 11               THE COURT:    All right.    Go ahead and bring the
 12   jury in.
 13               I will let you rest formally in front of the
 14   jury.
 15               I will note your objection for the record.
 16   You don't have to make it again.        And then you can just
 17   get started.
 18               (Jury is present.)
 19               THE COURT:    Welcome back.     I hope that helped
 20   a little bit.
 21               Are you prepared to go?
 22               MS. POPE:    Yes, Your Honor.
 23               THE COURT:    All right.    What says the
 24   Government?
 25               MR. EICHHOLZ:     The Government rests, Your
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  1   Honor.
  2               THE COURT:    The previously noted objection is
  3   again noted for the record and is overruled.          Is the
  4   defendant ready?
  5               MS. POPE:    We are, Your Honor.
  6               THE COURT:    All right.    We have a witness on
  7   the stand, and her name is?
  8               MS. POPE:    It's Teresa Ivy.
  9               THE COURT:    I'm going to ask my courtroom
 10   deputy to place her under oath.
 11               MS. POPE:    I would just like to tell the
 12   jury:     Ms. Ivy had an accident and hit her head and is
 13   having some blood drainage into her eyes, so please
 14   excuse the fact that she has sunglasses on.          The light
 15   gives her severe headaches right now until her injury
 16   heals up.    And then last night she banged her head on
 17   the refrigerator, fell back, and hurt her back.              So she
 18   is a trooper for being here today.
 19                                TERESA IVY,
 20   called as a witness by the Defendant, after having been
 21   sworn to speak the truth, testified as follows:
 22                           DIRECT EXAMINATION
 23   BY MS. POPE:
 24         Q     Ms. Ivy, where do you currently reside?
 25         A     216 Cypress Creek Drive, Madison, Alabama.
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  1         Q     And do you know the defendant, Mr. George
  2   White?
  3         A     I do.
  4         Q     And can you tell the jury how you know
  5   Mr. White?
  6         A     He is my boyfriend currently.       We live
  7   together.
  8         Q     How long have you known Mr. White?
  9         A     Since July of 2010.
 10         Q     Did you have an occasion to be with Mr. White
 11   on the evening of September 18, 2010?
 12         A     Yes.
 13         Q     Can you tell the jury why you were with
 14   Mr. White on that particular evening?
 15         A     We were going to take my granddaughter and her
 16   friend to Oktoberfest on the Arsenal.
 17         Q     So you had your granddaughter and her friend?
 18         A     Uh-huh.
 19         Q     And how old is your granddaughter?
 20         A     She was five then.
 21         Q     And I'm assuming her friend was about that
 22   same age?
 23         A     Yes.
 24         Q     Do you remember approximately what time you
 25   arrived at Mr. White's house that evening?
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  1         A     Probably around 7:30.
  2         Q     Did you go inside Mr. White's house that
  3   evening?
  4         A     Yes.
  5         Q     Approximately how long were you there before
  6   you left for the Oktoberfest?
  7         A     Probably 30 minutes.
  8         Q     Did the girls go in with you?
  9         A     Yes.
 10         Q     During that time did Mr. White have a drink in
 11   your presence, an alcoholic drink?
 12         A     No.
 13         Q     At that time were you able to observe his
 14   demeanor?
 15         A     Yes.
 16         Q     Can you tell the Court how he was acting?
 17         A     Just normal.    Just talking to me and the
 18   playing with the kids.
 19         Q     Was he staggering?
 20         A     Oh, no.
 21         Q     Did you notice any slurred speech?
 22         A     No.
 23         Q     Whose vehicle did you take to Redstone Arsenal
 24   for the Oktoberfest?
 25         A     His truck.
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  1         Q     And I believe from the officer's testimony
  2   that is an extended truck?
  3         A     Yes.
  4         Q     Okay.   Where did you sit?
  5         A     In the front seat.
  6         Q     And where were the two children placed?
  7         A     They were sitting in the back.       There is,
  8   like, a seat on either side.
  9         Q     Approximately how long did it take you to get
 10   to the Arsenal from Mr. White's house?
 11         A     About 10 minutes.
 12         Q     So he lives fairly close to the Arsenal?
 13         A     Yes, real close.
 14         Q     And if you remember, do you remember what gate
 15   it is that you went to?
 16         A     9.
 17         Q     Did you have any discussion with Mr. White
 18   that evening about what gate you were going through?
 19         A     We were just going through Gate 9 because
 20   that's the closest.      That's where he always goes
 21   through.
 22         Q     So it's close to his residence?
 23         A     Yes.
 24         Q     Ms. Ivy, you had your granddaughter and her
 25   friend that evening; correct?
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  1         A     Yes.
  2         Q     I'm assuming that you love your granddaughter?
  3         A     Very much.
  4         Q     Would you have ridden with Mr. White if you
  5   had felt he had been intoxicated to the point where he
  6   could not safely operate this vehicle?
  7         A     No.
  8         Q     When you arrived at the gate, was Mr. White
  9   pulled over?
 10         A     Yes.
 11         Q     And can you tell the jury why?
 12         A     Because I did not have my ID.
 13         Q     You need identification to get onto the
 14   Arsenal; correct?
 15         A     Correct.
 16         Q     What happened next after you got pulled over?
 17         A     Well, because I didn't have my ID, the girl
 18   was talking to him and then all of a sudden she asked
 19   him to pull on up and over further, and then the next
 20   thing I knew, there were two or three officers there.
 21         Q     Did you remain in the vehicle?
 22         A     Yes, I did.
 23         Q     Were you able to observe at all Mr. White
 24   performing any of the field sobriety tests?
 25         A     Yes.
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  1         Q     Did you observe him do the walk-and-turn?
  2         A     Yes.
  3         Q     Did it appear that he was staggering off the
  4   line?
  5         A     No.
  6         Q     Did it appear like he was bouncing around?
  7         A     No.
  8         Q     Were you able to hear him count?
  9         A     No, I didn't hear him count.
 10         Q     Were you able to see him do the one-legged
 11   stand?
 12         A     Yes.
 13         Q     Did you see him, like, having to put his foot
 14   down to maintain his balance?
 15         A     Well, no more than I would have, too.            He did
 16   a lot better than I could do on it.
 17         Q     During that time did you overhear any kind of
 18   conversation between Officer Adams and Officer Dean?
 19         A     I did.   I didn't know their names, but I knew
 20   them by their heights.      But yes, I did.
 21         Q     And can you tell the jury what you overheard
 22   the officers discussing?
 23         A     They made him do the test twice.        One made him
 24   and then the other one.       The shorter one said that he
 25   thought he was okay.      He was going to let him go, but he
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  1   said it's up to you, to the taller one.         I don't know
  2   their names.     And the next thing I knew, they decided to
  3   keep him.
  4         Q     Did they ask you if you could drive the
  5   vehicle home?
  6         A     Yes.
  7         Q     And what did you tell them?
  8         A     I told them no.
  9         Q     Why could you not drive the vehicle home?
 10         A     I can't drive a stick shift.       And I didn't
 11   have my license with me either.
 12         Q     That's true.    Okay.    The truck that you were
 13   in was a standard transmission?
 14         A     Uh-huh.
 15         Q     So how did you get back to your home?
 16         A     Called a taxicab, I believe, and we went on
 17   to -- my daughter and her friend is actually the mother
 18   of the little girl that was with us.         They were
 19   already -- they were going, so we got them to take us on
 20   over there.     I don't really remember, it has been so
 21   long, but somebody took me.       I didn't drive over there,
 22   because we left his truck there.
 23         Q     So you went on back to enjoy the festivities?
 24         A     Uh-huh.
 25         Q     Do you remember ever receiving any phone calls
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  1   from the officers on your cell phone?
  2         A     No.
  3         Q     Were you able to hear your cell phone ringing
  4   above the noise of Oktoberfest?
  5         A     Oh, no, I wouldn't have been able to do that
  6   there.
  7         Q     Do you remember about what time you returned
  8   home that evening?
  9         A     I don't know.     Probably maybe 30 minutes
 10   before it closed, because we had a baby.         We had a
 11   2-year-old with us and he went to sleep, so we had to
 12   leave sooner than the girls wanted to.
 13               MS. POPE:    Thank you.    No further questions at
 14   this time, Your Honor.
 15                           CROSS-EXAMINATION
 16   BY MR. SMITH:
 17         Q     Good afternoon, Ms. Ivy.      You mentioned that
 18   you overheard the officers speak?
 19         A     Uh-huh.
 20         Q     About where were you standing in relation to
 21   the police officers?
 22         A     I was sitting in the car.
 23         Q     And can you judge about how far away they were
 24   from you?
 25         A     No.   They were standing at the back of it.
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  1         Q     So it was an extended cab vehicle and you were
  2   sitting in the passenger's seat, but you were able to
  3   hear their conversations?
  4         A     Yes.    The windows were down.     It was hot.
  5         Q     You said that your granddaughter and your
  6   granddaughter's friend were in the vehicle with you?
  7         A     Uh-huh.
  8         Q     What were their ages?
  9         A     Five.
 10         Q     Both of them were five years old?
 11         A     Uh-huh.
 12         Q     Were they wearing seat belts?
 13         A     Yes, they were.
 14         Q     So the reason that you were initially stopped
 15   was because you had forgotten your ID; is that correct?
 16         A     Yes.
 17         Q     And so the officer had further questions
 18   following that?
 19         A     Uh-huh.
 20         Q     After this incident, Mr. White's license was
 21   revoked; is that correct?
 22         A     Yes.
 23         Q     Who has been providing him transportation
 24   since then?
 25               MS. POPE:    I object.    That's not relevant.
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  1               MR. SMITH:    It indicates bias, Your Honor, as
  2   far as the reason for her testimony.
  3               THE COURT:    I'm going to sustain.      That
  4   doesn't really show that.
  5               MR. SMITH:    Yes, Your Honor.
  6         Q     Your testimony was that prior to leaving for
  7   Oktoberfest, you were at Mr. White's home; is that
  8   correct?
  9         A     Yes.
 10         Q     You said for about 30 minutes?
 11         A     20, 30 minutes, yes.
 12         Q     And you said about what time did you leave
 13   from the house to go to Oktoberfest?
 14         A     8:00, around then.
 15         Q     Is it possible that Mr. White could have
 16   consumed alcohol prior to getting to the house?              Is that
 17   possible?
 18         A     That would be possible.
 19               MR. SMITH:    No further questions, Your Honor.
 20               THE COURT:    All right.    Anything on redirect?
 21               MS. POPE:    No, Your Honor.
 22               THE COURT:    Ms. Ivy, you may step down.         Thank
 23   you very much.
 24               MS. POPE:    We would call the defendant, George
 25   White.
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  1               THE COURT:    Do you expect to recall Ms. Ivy
  2   for anything further?
  3               MS. POPE:    No, Your Honor
  4               THE COURT:    Do you expect to recall Ms. Ivy?
  5               MR. SMITH:    No, Your Honor.
  6               THE COURT:    Any objection to her remaining in
  7   the courtroom?
  8               MR. SMITH:    I have no objection.
  9               THE COURT:    All right.    She may remain in the
 10   courtroom.
 11                             GEORGE W. WHITE,
 12   called as a witness by the Defendant, after having been
 13   sworn to speak the truth, testified as follows?
 14                           DIRECT EXAMINATION
 15   BY MS. POPE:
 16          Q    Mr. White, where do you currently reside?
 17          A    I reside at 216 Cypress Creek Drive in
 18   Madison.
 19          Q    And are you currently employed?
 20          A    Yes, I am.
 21          Q    And can you tell the jury where you're
 22   employed?
 23          A    I'm employed on Redstone Arsenal, building
 24   111.   The government contractor, my company's name, is
 25   GGI Federal.
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  1         Q     So you certainly know your way around the
  2   Arsenal; is that correct?
  3         A     That's correct.
  4         Q     Let's go back to the evening of September 10,
  5   2010.     Can you tell the jury what your plans were for
  6   that evening?
  7         A     That evening was to go to Oktoberfest and take
  8   Teresa Ivy, which you just met, and the grandchildren
  9   and go enjoy the festivities on the Arsenal.
 10         Q     Prior to leaving your home that evening, did
 11   you consume any alcohol?
 12         A     Yes, I did.
 13         Q     What did you drink?
 14         A     I drank one single, solitary vodka and
 15   cranberry juice.
 16         Q     When you say one single drink, can you
 17   describe for the jury how large or small that drink was?
 18         A     It was kind of a small cocktail glass.           It
 19   probably had this much vodka in it (indicating), and the
 20   rest was cranberry juice.
 21         Q     Do you remember what time you finished
 22   consuming that drink?
 23         A     Probably right prior to Teresa coming to the
 24   house, because she was out and about and went to get the
 25   children and she had errands to run.         So it was --
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  1   probably I had just finished consuming it prior to her
  2   pulling into the driveway because I was waiting for her
  3   to come home.
  4         Q     About how long did it take you to consume that
  5   drink?
  6         A     Maybe a half hour or so.
  7         Q     And you had nothing to drink prior to that
  8   vodka and cranberry juice?
  9         A     Nothing at all.
 10         Q     And did you have anything after that vodka and
 11   cranberry juice.
 12         A     Nothing at all.
 13         Q     You took your vehicle to the Arsenal; is that
 14   correct?
 15         A     Yes, that's correct.
 16         Q     And what vehicle did you take?
 17         A     I took a '98 GMC Sonoma.
 18         Q     Describe that vehicle for the jury, please.
 19         A     It's a maroon, extended cab, 1998, standard
 20   shift, GMC, long-bed truck.
 21         Q     Were you the driver of that vehicle?
 22         A     Yes, I was.
 23         Q     What gate did you enter the Arsenal or attempt
 24   to enter the Arsenal at?
 25         A     I went to Gate 9, which is basically Rideout
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  1   Road, what they call it, or the Research Park Boulevard
  2   gate.
  3         Q     And why did you decide to enter the Arsenal
  4   through that gate?
  5         A     I entered the Arsenal through that gate
  6   because -- for two reasons.       One is it's the closest
  7   gate to my home, which is about the closest subdivision
  8   to that gate in Madison.       No. 2, the Government out
  9   there, officials, send e-mails out to everybody that
 10   works on the Arsenal encouraging them to take
 11   alternative gates than Gate 10 which is where the
 12   general public goes in when they have events like a
 13   concert or Oktoberfest.       They recently, the last two or
 14   three events, sent out an e-mail to every employee that
 15   says anyone that works on the Arsenal, for the
 16   Government or a contractor, they encourage you to take
 17   alternative gates.
 18         Q     Did you ever tell the officer at any time that
 19   you thought you were at Gate 10?
 20         A     Absolutely not.
 21         Q     Did you know what gate you were using?
 22         A     Absolutely I did.
 23         Q     When you arrived at Gate 9, was there any line
 24   of cars waiting to get in?
 25         A     There was no line of cars whatsoever.
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  1          Q    Tell the jury what happened when you
  2   approached the gate.
  3          A    When I approached the gate I recognized -- I
  4   didn't realize that Teresa did not have her license on
  5   her.   Oftentimes she takes her license and she doesn't
  6   take her purse, but I didn't expect her to have her
  7   purse because I pay for everything.         So as we pulled up
  8   to the gate, I recognized that by time we got to the
  9   guard shack that -- I asked her to get her ID card out
 10   and she said she did not have it.        So not having an ID
 11   card, I showed my Government CAC card, as they call it,
 12   and I tried to talk the guard into letting us go on
 13   without an ID card, without her ID card.         So they took
 14   my ID card, my driver's license -- they asked me for my
 15   driver's license and told me to pull around the guard
 16   shack, which they customarily do when someone doesn't
 17   have proper decals.      They generally will take your
 18   driver's license and have them go around the shack to go
 19   out the Arsenal, and generally the guard will bring the
 20   driver's license back to that individual and give them
 21   the driver's license and let them go off the Arsenal.
 22          Q    So when you went to Oktoberfest that evening,
 23   you knew that you were going to have to go through some
 24   type of security; correct?
 25          A    Absolutely.
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  1         Q     Tell the jury how you were dressed that
  2   evening.
  3         A     I was dressed that evening just wearing casual
  4   clothes, blue jeans.      I had a pair of sloppy old sandals
  5   on that were real loose, with socks, and a T-shirt.
  6         Q     You said you had a pair of sloppy sandals on.
  7   Can you describe in a little bit more detail what those
  8   shoes were like?
  9         A     They're basically open sandals.        They don't
 10   have any straps or anything.       They are just basic
 11   sandals with just the leather that goes across the top
 12   that you slide your feet in that way.
 13         Q     And you said you had socks on with those
 14   sandals?
 15         A     Yes, I did.
 16         Q     Once you pulled around to the side, did a
 17   couple of Redstone Arsenal officers approach the
 18   vehicle?
 19         A     When I pulled around to the side, initially
 20   there was a female officer who came and talked to me.
 21   Actually, I thought they were going to give my driver's
 22   license back, but they did not.        She asked me to get out
 23   of the car.
 24         Q     And did you exit the vehicle?
 25         A     Yes, I did exit the vehicle.
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  1         Q     Were you staggering upon exiting the vehicle?
  2         A     Absolutely not.
  3         Q     And once you exited the vehicle, where did you
  4   go?
  5         A     Well, they told me to go to the back, told me
  6   to go to the back of the vehicle, so I went back to the
  7   end of the truck bed.      I did not go around to the
  8   tailgate.    I just went to the back of the vehicle.
  9         Q     And did they give you further instructions
 10   after this?
 11         A     No, other than the fact that they were going
 12   to give me some sobriety tests.
 13         Q     How many officers were present at that
 14   particular point in time, if you remember?
 15         A     Well, a black female officer got me out of the
 16   car, then Officer Dean took over, and at that time she
 17   was standing back at the car and he took me around back
 18   and started to administer the test on me.
 19         Q     So at that time Officer Dean, did he perform
 20   what they described as the walk-and-turn?
 21         A     Yes, he did.
 22         Q     Can you describe for the jury, if you
 23   remember, what you were told to do?
 24         A     He basically told me to take nine steps, count
 25   them out, heel to toe, which I did, and they didn't give
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  1   me any particular instructions about how to turn.            They
  2   just told me to go nine steps, turn around, and come
  3   back the same way.      So I basically did a military about-
  4   face, which I heard them describe as a hopping maneuver.
  5         Q     At any time did you stagger off -- let me back
  6   up.   Was there an actual line there?
  7         A     No, there was no actual line.
  8         Q     So what they described was just an imaginary
  9   line?
 10         A     That's what they described.       I didn't know
 11   what they meant by a line there other than it was an
 12   imaginary line.
 13         Q     Did you, in your opinion, walk in a straight
 14   line?
 15         A     In my opinion, I did.
 16         Q     Did you feel like you were swaying at any
 17   time?
 18         A     That particular test, I did not at all.
 19         Q     Did you lose count?
 20         A     I did not lose count.
 21         Q     After you did the walk-and-turn, did another
 22   officer arrive upon the scene?
 23         A     Yes.
 24         Q     Can you tell me, if you remember, or tell the
 25   jury at what point Officer Adams arrived on the scene?
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  1         A     It was after I was administered this test that
  2   he just showed up and sort of took over.
  3         Q     Did he perform the test over from the
  4   beginning?
  5         A     Yes, he did.
  6         Q     And so you did the walk-and-turn test again
  7   for him?
  8         A     Yes, I did.
  9         Q     Did he give you the same instructions as
 10   Officer Dean had given you?
 11         A     Basically.    I don't know all the details of
 12   what they were saying, other than the fact he wanted me
 13   to walk toe to heel, nine steps, which I did.
 14         Q     And you did the same exact type of turn?
 15         A     Yes, ma'am.
 16         Q     Let me back up just a minute.       The first
 17   officer, Officer Dean, did he do the one-legged stand
 18   test with you?
 19         A     No.
 20         Q     Was that test only performed by the second
 21   officer, Officer Adams?
 22         A     Yes.
 23         Q     And tell the jury, if you can remember, the
 24   instructions that Officer Adams gave you regarding that
 25   particular test.
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  1         A     He basically told me to stand on one foot and
  2   to hold the other foot up and count until he tells me to
  3   stop.
  4         Q     How did he tell you to count?
  5         A     1001, 1002, 1003.
  6         Q     And were you able to perform that test
  7   satisfactorily?
  8         A     As I recall, distinctly recall, I counted to
  9   13, and on 13 I touched my foot down.         And at 13 he told
 10   me okay, that's it.      He didn't make me go any further.
 11         Q     Why did you only make it to 13?
 12         A     Well, because it's sort of hard for me to
 13   stand on one foot to begin with and my shoes were
 14   unsteady; and, two, I was feeling a little shaky because
 15   I hadn't eaten anything.       I described to the officers
 16   that I was a diabetic and they said, What is your count,
 17   this, that, and this other, and I said, Well, I can't
 18   tell you because I don't have my meter with me, but I
 19   did describe to them that I was a diabetic and I was a
 20   little shaky because of it.       So that's what I did.      But
 21   he didn't make me go any further once I put my foot down
 22   for the first time at the count of 13, because I recall
 23   that, because I was wondering when he was going to make
 24   me stop counting.
 25         Q     You said you hadn't eaten all day.        Why had
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  1   you not eaten all day?
  2         A     Because I was busy doing things.        You know, it
  3   doesn't necessarily mean that I have to eat all day
  4   because I take a couple of different diabetic pills.                It
  5   has to do with what my sugar is and how I feel.              But the
  6   meter is what I use to take my glucose level quite
  7   frequently, because what happens is you can have a
  8   normal blood sugar, even slightly elevated, and there's
  9   no reason to eat when the sugar is up.
 10         Q     Had you taken your glucose levels that day?
 11         A     I don't recall if I took them in the morning
 12   or not.    I don't recall if I did.      I may have --
 13   I probably did one in morningtime but not any more
 14   towards the afternoon.
 15         Q     And you mentioned that you take two
 16   medications.     What medications do you take?
 17         A     I take something called Glucovance, which is a
 18   combination of what they call glyburide and metformin,
 19   which is a common oral, and then I also, as of about two
 20   or four months ago, the doctor in conjunction with that
 21   prescribed me something called Januvia, which can be
 22   used in conjunction with the other oral or one-a-day
 23   pill.
 24         Q     Were you already taking Januvia on
 25   September 18, 2010?
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  1         A     Yes, I had those prescriptions, both
  2   prescriptions.
  3         Q     Did you inform the officers of your diabetic
  4   condition at the time the field sobriety test was
  5   performed?
  6         A     Yes.   I had a conversation with him about it,
  7   as a matter of fact.      I absolutely did.
  8         Q     Prior to you performing the field sobriety
  9   test, did the officers -- let's start with Officer Dean
 10   first, since he was the first one.
 11               Did Officer Dean demonstrate each test to you
 12   before you performed it?
 13         A     You know, I don't recall him actually
 14   physically demonstrating it.       He basically discussed
 15   what he wanted me to do.       He mentioned what he wanted me
 16   to do, but I didn't see him standing and doing that
 17   test.     He just described it to me.
 18         Q     Then Officer Adams performed the field
 19   sobriety test the second time; correct?
 20         A     Yes.
 21         Q     And did he demonstrate how to perform this
 22   test for you?
 23         A     I don't recall any of them performing the
 24   test, showing me what they wanted me to do.          They gave
 25   me a verbal description of what they wanted me to do.
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  1         Q     And how many times did you perform the walk-
  2   and-turn?
  3         A     Two times.
  4         Q     And the one-legged stand?
  5         A     One time.
  6         Q     After you completed the test, what, if
  7   anything, did the officer say to you?
  8         A     Well, they decided to cuff me and take me to
  9   the station and told me that they were going to give me
 10   a breathalyzer test.
 11         Q     Let's get to the breathalyzer test.        Did they
 12   transport you to the station?
 13         A     They did transport me to the station.
 14         Q     And when you arrived at the station, did
 15   Officer Dean go over what is commonly known as the
 16   implied consent law?
 17         A     To be absolutely truthful with you, I don't
 18   really recall that conversation that much.          I realized
 19   when he told me it was -- I guess what I'm saying is I
 20   wasn't aware of it until he discussed it with me.
 21   I didn't know that it was implied consent by having a
 22   driver's license because I was not aware of that.            But
 23   when he told me that, I told him I was still going to
 24   refuse it.
 25         Q     So he did explain to you that if you refused
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  1   to take the breath analysis test that your driver's
  2   license would be suspended for 90 days?
  3         A     That's right.
  4         Q     And you still declined to take the test?
  5         A     I still declined to take the test.
  6         Q     Why did you decline to take the test?
  7         A     I declined to take the test for the simple
  8   reason that I've been hearing for years and years and
  9   years on TV and everybody you talk to and everything
 10   else that you don't have to take the test and don't take
 11   it.
 12         Q     Did you refuse to take the test because you
 13   thought you would fail?
 14         A     No.   I just didn't see any reason to have to
 15   take it.    I figured that if I didn't have to take it,
 16   which I've heard over and over and over again, I just
 17   didn't take it.
 18         Q     Do you remember about what time you were put
 19   in the cell?
 20         A     Probably around about 8:30, quarter to 9.
 21         Q     And what time were you released the next
 22   morning, if you remember?
 23         A     I was released exactly 12 hours later.           The
 24   fact is I had one officer come about 6 in the morning --
 25   actually it was probably 4 in the morning and he said,
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  1   You know, come around 6, we can let you out of here, and
  2   then the lieutenant -- I don't know his name -- come
  3   around in the morning and I said, You know, I understand
  4   I can be released like at 6 or 7 in the morning.             He
  5   said, No, it's customary that once we put you in here,
  6   you've got to stay for 12 hours regardless.          We can't be
  7   breaking the rules for anybody.        We have to be standard
  8   about it.    So even if the other officer said that you
  9   could probably get out at 6, he had just recently
 10   started working again, he worked out there before and
 11   had a hiatus at some point and was back working again,
 12   he said that he told me wrong.
 13         Q     Exactly 12 hours later, were you indeed
 14   released?
 15         A     I was indeed released.
 16               MS. POPE:    No further questions at this time,
 17   Your Honor.
 18               THE COURT:    Cross-examination?
 19                           CROSS-EXAMINATION
 20   BY MR. EICHHOLZ:
 21         Q     Mr. White, you were drinking at the time?
 22         A     I had one single, solitary drink.        So if you
 23   want to call that drinking, I was drinking.
 24         Q     And your home is in Madison?
 25         A     My home is in Madison.
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  1         Q     About 10 minutes away?
  2         A     About 10 minutes away.
  3         Q     And you were driving that night?
  4         A     I was driving that night.
  5         Q     And when you got there, you were stopped at
  6   the gate guard?
  7         A     I was not stopped by the -- customarily they
  8   want to see your ID, so when you pull up, you just stop
  9   and show them your identification, which I had a
 10   Government-issued identification card.
 11         Q     My question is:     The first ID you showed them,
 12   was that your driver's license or was that your CAC
 13   card?
 14         A     My CAC card.
 15         Q     But then they took your driver's license?
 16         A     Took my driver's license.
 17         Q     So you showed them two forms of
 18   identification?
 19         A     No.   They asked me for my driver's license,
 20   which I gave it to them because when Ms. Ivy did not
 21   have her identification card, they asked me for mine,
 22   her driver's license, ID, they asked me for my driver's
 23   license.    And when they took my driver's license, they
 24   asked me to pull around to the other side.          And as I
 25   mentioned earlier, I had been working out there for so
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  1   many years that every time someone in front of me or
  2   beside me does not have a decal or everyone in their car
  3   doesn't have an ID card of some sort, they customarily
  4   take the driver's driver's license and stop all the cars
  5   so they will go around and then they physically bring
  6   the driver's license back to the individual, give it
  7   back to them, and tell them to vamoose.
  8         Q     So you presented your CAC card and he gave you
  9   that back?
 10         A     Yes.
 11         Q     And then they took your driver's license?
 12         A     Yes.
 13         Q     Okay.   You've worked at Redstone Arsenal for a
 14   number of years?
 15         A     Yes.
 16         Q     But you still asked how to get to the
 17   Oktoberfest?
 18         A     I no more asked how to get to Oktoberfest.            I
 19   know exactly how to get there.
 20         Q     So you never asked that?
 21         A     I never asked that.
 22         Q     You weren't in any way confused as to what
 23   gate you were at?
 24         A     Absolutely not.     Actually I was quite shocked
 25   at what the officer said.
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  1          Q    It sounds like it because the officer said you
  2   didn't demonstrate the test the way they told you they
  3   did?
  4          A    They verbally described it to me and that's
  5   what I did.
  6          Q    And you told them about your diabetes prior to
  7   doing any of the standard field sobriety test; right?
  8          A    I talked to them about it maybe in between --
  9   I don't know exactly if it was right before or right
 10   after that they asked me.       I told them I was a diabetic.
 11          Q    But obviously they didn't testify to that
 12   today, though?
 13          A    They didn't say anything about it today.
 14   Well, no.    Officer Dean said I discussed it with him
 15   when I went back at the police station.
 16               I had a discussion with him right out there
 17   during the course of the discussion with him in the
 18   sobriety test, because they asked me, well, what is your
 19   sugar level?     Are you having any problems?       I said, I
 20   don't know.     It's hard to tell because I don't have my
 21   meter on me, but it causes me to be shaky sometimes.
 22          Q    And you don't exactly recall how the implied
 23   consent was read to you; right?
 24          A    Well, no.    They brought me back -- as a matter
 25   of fact, I told them before they even took me to the
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  1   station you can take me to the station, but I'm not
  2   going to take the breathalyzer test even if you take me
  3   in.   So that's what I did when I went in there, I
  4   refused to take it.      And when he told me I had to
  5   surrender my license, I said well, so be it.
  6         Q     And you said that you were asked to step out
  7   of the vehicle?     You were told to step out of the
  8   vehicle eventually?
  9         A     Yes.
 10         Q     But you didn't stumble at that point either?
 11         A     No, I didn't stumble.      That's another thing
 12   that shocked me.     I stepped out just like any person
 13   steps out of a vehicle.
 14         Q     And you didn't brace yourself on the vehicle?
 15         A     Well, I'm not saying brace.       I'm not saying I
 16   didn't put my hand on the truck.        I don't recall that.
 17   But when you are standing next to the car, you may just
 18   do that, but I wasn't holding onto the car because I was
 19   afraid I was going to fall over.
 20         Q     You mentioned these field sobriety tests.         And
 21   like you said, you had flip-flops on; right?
 22         A     Yes.
 23         Q     But you never asked to take those flip-flops
 24   off, did you?
 25         A     No.    And they never asked me or gave me the
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  1   option, either.
  2         Q     You realized at that point that you were at
  3   least being considered for DUI, didn't you?
  4         A     I did.   And not only that, not only was I
  5   being considered, I was sort of surprised why they were
  6   making me do the test twice.
  7         Q     But even though you were being considered for
  8   it, you still didn't think, hey, Officer, I couldn't do
  9   that in these shoes?
 10         A     They didn't say anything about it.        I didn't
 11   discuss it with him or make any comment to him about it.
 12         Q     But you did mention something about
 13   helicopters, right, because that could prohibit you from
 14   doing a test, didn't you?
 15         A     Well, they talked about doing the eye thing
 16   and I told him, look, I don't have control of the muscle
 17   in my eyes to move my eyes around the way that they
 18   would have liked me to.       And to answer your question,
 19   yes, when I was in the military and had that test, the
 20   doctor said, Well, this is not going to cause you any
 21   problem except you will never be able to fly a
 22   helicopter or jet airplane because you can't look at the
 23   overhead panels.
 24         Q     So at that moment you thought that you
 25   couldn't do a test with your eye, but you thought that
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  1    those shoes weren't going to in any way prohibit you
  2    from doing any sort of balancing test?
  3          A     I didn't think about it prohibiting me, but I
  4    also would say that when they told me to go heel to toe
  5    back and forth, I did it fine as far as I was concerned.
  6    And I didn't miscount anything either, which also blows
  7    me away.
  8          Q     So it's safe to say that, like you said, you
  9    maintained toe to heel relationship?
 10          A     Yes.
 11          Q     And unlike what the officer said, you were
 12    able to walk a straight line?
 13          A     Yes.
 14          Q     And unlike what the officer said, you never
 15    stepped off line?
 16          A     Yes.
 17          Q     And unlike what the officer said, you counted
 18    out loud the entire time?
 19          A     Yes.
 20          Q     And unlike the officer said, you never put
 21    your feet together?
 22          A     I can't recall when he was giving me the
 23    instructions whether I put my feet together or not, but
 24    when I did performed the test, I performed the test on
 25    line heel to toe.
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  1          Q     Moving on to the one-legged stand, unlike the
  2    officer said, you stopped at 13 and did not continue?
  3          A     Did not continue.     They told me to count
  4    until -- for him to tell me to stop.        So I counted from
  5    1001, 1002, 1003, and I got to 10 and I thought he was
  6    going to tell me to stop but I kept counting and at 13 I
  7    touched my foot down, and at 13 he told me to stop.           I
  8    didn't ever go to 20.      When I touched my foot down the
  9    first time, he told me to stop, the first time.
 10          Q     I'm a little confused about the diabetes.         You
 11    said that you didn't eat anything all day?
 12          A     I didn't eat anything all day.
 13          Q     And you didn't check your sugar?
 14          A     I may have checked it in the morning, but I
 15    didn't check it that afternoon.       I was planning on
 16    eating something when I went to the Oktoberfest.
 17          Q     So you're a diabetic who is on two medications
 18    at a time?
 19          A     Yes.
 20          Q     You don't eat anything all day?
 21          A     Don't eat anything all day if my sugar is
 22    high.     If it's up in the morning a little bit, then I
 23    don't feel like I need to eat anything.         Diabetes is
 24    something you manage.      You manage it with your meter.
 25    So you just don't eat any time just to be eating.
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  1    That's how I manage it.      I've had diabetes for about
  2    seven or eight years now.
  3           Q    Do you manage it with cranberry juice, which
  4    is a highly glucose-latent drink?
  5           A    It doesn't matter.     You know, every now and
  6    then you can drink something that's sweet.         Just because
  7    you are a diabetic doesn't mean you can't eat a piece of
  8    cake every now and then, but you can't eat cake all day,
  9    every day.
 10           Q    What if that's the only thing you eat that
 11    day?
 12           A    That could be possible, no issue with it.
 13           Q    But regardless, you hadn't had anything to eat
 14    all day?
 15           A    No.
 16           Q    Except for that one vodka and cranberry juice?
 17           A    That's right.
 18           Q    And you weren't expecting any sort of spike
 19    with regard to your blood sugar at that point?
 20           A    No.
 21           Q    But at the same time you also told the
 22    officers I might be experiencing some sort of spike, so
 23    I might be a little shaky.       You told the officers that;
 24    right?
 25           A    I told them I could be a little shaky; I don't
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  1    know what my sugar is right now.        And I eventually asked
  2    them for something to eat.
  3           Q    You asked them for something to eat actually
  4    after you were locked up in the detention cell?
  5           A    No.   I asked for something to eat on the way.
  6    I was talking with Officer Dean -- I sort of kidded with
  7    him because his name was Jimmy Dean and I said, You're
  8    not any kin to the sausage guy?       As a matter of fact, I
  9    could use a sausage and biscuit right now.         And they
 10    said they would try to get me some when I went back
 11    there, but they put me in the pen and that was the end
 12    of it.     As a matter of fact, the next morning the
 13    lieutenant told me also, You know, George, I understand
 14    you are a diabetic; we will try to get you something to
 15    eat.   I didn't see hide nor hair from anyone until
 16    three, four hours later until they let me out, at the
 17    crack of dawn when they came in, change of shift at 6 or
 18    something like that.
 19           Q    I'm curious about this implied consent.          You
 20    said that you understood that you would lose your
 21    license for 90 days if you don't blow; right?
 22           A    That was the law, I understand.       That's what
 23    the law is, and so I said okay.
 24           Q    Did you read that law that morning or that
 25    night?
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  1          A     No, I didn't read the law.
  2          Q     So unlike what Officer Dean told us, you did
  3    not read it?
  4          A     I never saw anything that he gave me anything
  5    to read.
  6          Q     Did Officer Dean inform you of the law that
  7    night?
  8          A     He may have mentioned it to me, but the only
  9    paperwork that I ever saw was the paperwork that he gave
 10    me, the charge, the next day and told me to send it in
 11    to the central processing unit so it would show up on
 12    this docket.
 13          Q     So Officer Dean did not read you that law
 14    verbatim?
 15          A     I don't recall him reading anything to me from
 16    a piece of paper.
 17          Q     Did Officer Dean point to a sign on the wall
 18    that clearly states that if you do not blow into this
 19    machine, you will lose your license for 90 days?
 20          A     No.
 21          Q     And you did not see a sign such as that?
 22          A     No.   I was in the cell all day long and I
 23    didn't see anything.
 24          Q     No.   I mean prior to --
 25          A     No.   He took me straight back there and that
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  1    was the end of it.     He took me right back to where he
  2    was going to give me the test, right back there, made me
  3    give him my belt, took my shoes off, and I don't know
  4    what else I may have had, a watch or something, and took
  5    it from me.    And he put me at the table right there
  6    beside the cell and warmed up his machine like he said.
  7    I said, Fine.    I'm not going to blow into it.        He said,
  8    Fine, but I have got to ask you anyway.         And I said,
  9    Fine, but I told you when you were taking me here I
 10    wasn't going to take it, so I'm sticking to my word.           He
 11    said, Okay.    Well, you've got to stay here in the cell.
 12    I said, Fine.    And he put me in there, and that was the
 13    last I saw of Officer Dean until just then, until today.
 14          Q     And as you said earlier, you had exactly one
 15    drink that night?
 16          A     Exactly one drink.
 17          Q     And you did not think that if I just blow in
 18    this machine, I can leave immediately because I know I'm
 19    not drunk?
 20          A     I didn't even think about that.       I just went
 21    from the advice of what everyone has always told me,
 22    what I've seen on TV through many, many years, so I
 23    followed that advice, didn't blow into the machine.           I
 24    didn't feel like I had to, no reason to.
 25          Q     You didn't feel as though if I just blow in
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  1    that machine and I blow under the legal limit, I get to
  2    walk out of here?
  3          A     I didn't think about it.      I just went along
  4    with what I've heard on TV, what I read, what people
  5    talk about; said, You know, George, you don't have to
  6    blow into the machine.      It's not a requirement.      You
  7    don't have to.     So I didn't do it.
  8          Q     So in spite of what the officer just told you
  9    as far as what the Alabama state law is, you took the
 10    legal advice of all these other people who you have
 11    randomly heard?
 12          A     In spite of that, that's what I did.
 13                MR. EICHHOLZ:    Thank you.
 14                THE COURT:    Any redirect?
 15                MS. POPE:    Just a couple.
 16                         REDIRECT EXAMINATION
 17    BY MS. POPE:
 18          Q     Mr. White, let me ask you:      When you got to
 19    the station that night, did you have any awareness there
 20    was an implied consent law?
 21          A     I had no awareness at all about that.
 22          Q     Did Officer Dean, whether he read it to you
 23    off of a piece of paper or told you about it, did he
 24    inform you that there was an implied consent law that
 25    night?
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  1           A    As I recall, he mentioned that to me, but I
  2    didn't -- I told him I still wasn't going to take the
  3    test, and he said, Well, that's okay.
  4           Q    At any time was he disrespectful, rude, or
  5    anything?
  6           A    No.   Officer Dean and I had a nice
  7    relationship.     We chit-chatted while he took me in.        The
  8    officers were not unprofessional.        They were decent.     I
  9    had no issues with the officers.
 10                MS. POPE:    No further questions, Your Honor.
 11                THE COURT:    All right.    Anything else related
 12    to redirect?
 13                MR. EICHHOLZ:    No, Your Honor.
 14                THE COURT:    You may step down.     Thank you,
 15    sir.
 16                Any further witnesses?
 17                MS. POPE:    No, Your Honor, we have no further
 18    witness at this time.      The defense would rest.
 19                THE COURT:    All right.    The defense has rested
 20    at this time.     Does the Government have anything
 21    further?
 22                MR. SMITH:    At this time the Government would
 23    recall Officer Dean in rebuttal.
 24                THE COURT:    Go ahead.
 25                You are still under oath.
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  1                     FURTHER DIRECT EXAMINATION
  2    BY MR. SMITH:
  3          Q     Officer Dean, we have a few questions we would
  4    like to clarify based on testimony that we just heard
  5    from the defendant.      Your statement reflects that the
  6    arrest was about 1955 or when you first approached; is
  7    that correct?
  8          A     We first arrived or dispatched at 1955, so
  9    given the time for the field sobriety test, the arrest
 10    was probably about 2010, 2015.
 11          Q     And can you translate that into --
 12          A     8:10 to 8:15 p.m.
 13          Q     Thank you.    In reference to the defendant's
 14    claim of having diabetes or his medical condition of
 15    diabetes, when is the first time that you heard anything
 16    about that from the defendant?
 17          A     That was after we placed him in the D-cell and
 18    he wanted a sausage biscuit and that's the first time he
 19    brought up the diabetes.
 20          Q     Do you remember him mentioning anything at all
 21    about diabetes while doing the field sobriety test?
 22          A     No, sir.    Negative.
 23          Q     And you did ask him about medical conditions?
 24          A     Yes, sir.
 25          Q     Can you remember the question that you would
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  1    have asked him or the question that you asked regarding
  2    medical condition?
  3          A     Basically, prior to starting any of the field
  4    sobriety tests, the first thing you do is ask if they
  5    have any medical conditions that would impair them from
  6    completing the test and also are they wearing contacts
  7    or anything like that.
  8          Q     Do you understand that to also include a
  9    condition such as diabetes?
 10          A     Yes, sir.
 11          Q     Did he mention anything to you about being
 12    shaky or having low sugar or anything?
 13          A     No, sir.
 14          Q     All right.    As far as the implied consent law
 15    when you took him back, when he was transported to the
 16    police station, explain one more time the procedure that
 17    you do in informing Mr. White of implied consent.
 18          A     Basically, once he sat down next to the Drager
 19    machine, we have a copy of the implied consent on the
 20    wall, which I read it verbatim and pause in between to
 21    make sure he understands each one of the steps in
 22    between.
 23          Q     And did you do that that night?
 24          A     Yes, sir.
 25          Q     And was he sitting down?
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  1          A     Yes, sir.
  2          Q     And was his eyes fixed on that?       Did he look
  3    at that?
  4          A     Actually, he was sitting at an angle to me
  5    where I was staring straight at the writing on the wall
  6    on the post and reading it to him and he was
  7    acknowledging that he understood it.
  8          Q     Had you brought it to his attention?        Had you
  9    showed it to him on the wall?
 10          A     Right.
 11          Q     As well as explaining it to him?
 12          A     Yes, sir.
 13          Q     And anyone that enters the room, is it obvious
 14    to see it on the wall?
 15          A     Yes, sir.   It's posted about this high above
 16    the Drager machine.
 17          Q     Did he ask any questions about it?
 18          A     No, sir.
 19          Q     Officer Dean, when you do arrests like this,
 20    do you do the implied consent procedure the same way
 21    every time?
 22          A     Yes, sir.
 23          Q     And why do you do it the same way every time?
 24          A     Basically, it's a requirement before you can
 25    administer the Drager test and it's part of our training
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  1    with the Drager.
  2          Q     So what happened on the night of
  3    September 18th with Mr. White was not unusual?
  4          A     No, sir.
  5          Q     And you followed the procedure as you received
  6    it in your training?
  7          A     Yes, sir.
  8                MR. SMITH:    No further questions, Your Honor.
  9                THE COURT:    Cross?
 10                      FURTHER CROSS-EXAMINATION
 11    BY MS. POPE:
 12          Q     Officer Dean, this event happened
 13    approximately six months ago; correct?
 14          A     Yes, ma'am.
 15          Q     Were you able to refresh your memory about
 16    this event through reading of your report or anything
 17    like that?
 18          A     Yes, ma'am.
 19          Q     So you're just like every human being; you are
 20    not going to remember something that happened six months
 21    ago in every detail without being able to refresh from
 22    your report; is that correct?
 23          A     Well, most of the things you recall and some
 24    of the stuff you have to bring yourself back up to speed
 25    on as far as every minute detail on.
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  1          Q     It wouldn't be uncommon for somebody to forget
  2    a certain event; correct?
  3          A     Depending on the event.
  4          Q     For instance, Officer Adams testified that he
  5    was the only one that ever performed a field sobriety
  6    test.     So if he forgot that you did some also, would
  7    that be something that --
  8                MR. SMITH:    Objection, Your Honor.      Officer
  9    Dean isn't aware of Officer Adams' testimony.
 10                MS. POPE:    I was just asking would that be
 11    something that somebody would forget?
 12                THE COURT:    I think that's a sustainable
 13    objection.    I sustain it the way it's worded.
 14          Q     So without refreshing your memory sometimes,
 15    there's no way six months later or even three months
 16    later you are going to remember every detail about an
 17    event?
 18          A     Like I said, depending on what the event is.
 19    A normal speeding ticket or something like that may be
 20    harder to recall.     Most of the DUIs that I've had,
 21    remembering the events that occurred that night are
 22    pretty much clear in my mind.
 23          Q     So you're saying that it's not uncommon for
 24    somebody to forget some detail about an event?
 25          A     No, it's not uncommon.      It's human nature.
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  1          Q     You said it was not uncommon?
  2          A     Yes, ma'am.
  3          Q     Okay.    You said you went over the implied
  4    consent with him?
  5          A     Yes, ma'am.
  6          Q     Do they sign anything like the defendants do
  7    after they have been Mirandized?
  8          A     No, ma'am.
  9          Q     So you just make sure that they understood it?
 10          A     Right.
 11          Q     Did he indicate that he didn't understand it?
 12          A     No, ma'am.    He told me that he understood but
 13    that he was not going to submit to the test.
 14          Q     And you felt like he was competent enough at
 15    that time to make that sort of decision?
 16          A     Yes, ma'am.
 17                MS. POPE:    No further questions, Your Honor.
 18                MR. SMITH:    Just one more.
 19                       FURTHER REDIRECT EXAMINATION
 20    BY MR. SMITH:
 21          Q     Is it safe to say, Officer Dean, that part of
 22    the reason why you do things the same way every time is
 23    to help you in situations like this remember things?
 24          A     Yes.
 25          Q     And the process that you followed, is that the
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  1    procedure you were supposed to follow based on your
  2    training and experience?
  3          A     Yes, sir, it's part of the training.
  4                MR. SMITH:    That's all.
  5                MS. POPE:    No further questions.
  6                THE COURT:    Thank you.    You may step down.
  7                Anything further from either party?
  8                MR. EICHHOLZ:    Not from the Government.
  9                THE COURT:    From the defendant?
 10                MS. POPE:    Nothing from the defense, Your
 11    Honor.
 12                (End of testimony.)
 13                (Closing arguments on February 24, 2011:)
 14                (Back in open court.     The jury is not
 15    present.)
 16                THE COURT:    All right.    Back on the record.
 17    The defendant is present, as are counsel for both sides.
 18    Are we ready to go?
 19                MS. POPE:    Yes, Your Honor.
 20                MR. SMITH:    Just to put on the record, Your
 21    Honor, Captain Eichholz had the military equivalent of a
 22    grand jury that we weren't able to reschedule, so I will
 23    be taking the conclusion of the case.
 24                THE COURT:    Okay with me.
 25                (Jury is now present.)
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  1                THE COURT:    Good morning, ladies and
  2    gentlemen.    I'm happy that all of you made it back.          We
  3    would be in a quandry if you hadn't, so thank you for
  4    making it back.     I hope you had a nice night's rest.
  5                The remaining parts of this case should not
  6    take very long.     We are going to start at this point
  7    with closing arguments.      Again, like the opening
  8    statements, it is not evidence.       It's simply the
  9    attorneys' opinions as to what they think the evidence
 10    showed.   Obviously, what the evidence did show is your
 11    decision.    You are the judge of the facts and what comes
 12    from the witness stand, not what they say.         But they get
 13    to tell you what they think the evidence has shown and
 14    it's their opinion.
 15                Because the Government bears the burden of
 16    proof, they go first and last, closing argument, and
 17    Captain Smith will be presenting argument for the
 18    government.
 19                Captain Smith, if you are ready to go, you may
 20    start.
 21                MR. SMITH:    Yes, sir.
 22                Good morning, ladies and gentlemen.        As I
 23    mentioned yesterday, the observations of the officers
 24    that you heard yesterday are the facts in this case.
 25    After our closing arguments, Judge Davis will explain to
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  1    you the law of Alabama as it relates to the prohibition
  2    against drunk driving.      Under that law it essentially
  3    says that a driver cannot operate a vehicle while under
  4    the influence of alcohol.
  5                Under the statute that we have brought against
  6    or the charges that we have brought against Mr. White,
  7    there is no requirement for us to show any sort of blood
  8    alcohol content or level such as you've heard before
  9    like .08.    There is no requirement on our part to show
 10    that actual level.     All that we need to show is that he
 11    was driving a vehicle under the influence of alcohol to
 12    such an extent he could not do in a safe manner.             So
 13    there's elements there:      driving, driving under the
 14    influence, and, three, to such an extent he cannot
 15    operate a vehicle in a safe manner.
 16                The observations of the officers that you
 17    heard yesterday speak to all three of those elements,
 18    and I will go through those and show how those elements
 19    match up with the observations with the facts in the
 20    case.
 21                First, driving.    From the officer's testimony
 22    based on circumstantial evidence, we were able to infer
 23    that Mr. White drove onto post.       From the defendant's
 24    own testimony and from the testimony of Ms. Ivy, we also
 25    heard that he drove on post, that he drove onto Redstone
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  1    Arsenal.    So we have driving.
  2                The second, under the influence.       We have
  3    officers' testimony as far as Officer Adams and Officer
  4    Dean.   Both said that they observed the defendant
  5    walking outside the vehicle.       Officer Dean saw the
  6    defendant exit the vehicle and walk out of the vehicle
  7    and saw him stumble and maintain his balance by using
  8    the side of his vehicle.
  9                Additionally, when Officer Dean went to frisk
 10    him during the standard test that he does as far as the
 11    frisk goes for officer safety, he was within close
 12    proximity of Mr. White and was able to get a strong odor
 13    of alcohol.    In fact, he said it was a stout odor, and
 14    when asked on a scale of 1 to 10 what it was, he said it
 15    was an 8.    Officer Adams, when he came on the scene, he
 16    also testified that he noticed a strong odor of alcohol
 17    emanating from the defendant.
 18                Additionally, as Officer Dean performed the
 19    field sobriety test, the standard test that he said that
 20    he was trained on and that he always uses whenever he is
 21    confronted with a suspected drunk driver, Mr. White hit
 22    on certain clues, clues that Officer Dean and Officer
 23    Adams were trained to look for.       Those clues included
 24    not being able to perform the walk-and-turn test
 25    correctly and not being able to perform the one-legged
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  1    stand.    He missed numbers when he was counting.        He was
  2    unable to do two things at once.        All these are
  3    indicators that he was under the influence of alcohol.
  4                Additionally, when Officer Dean and Officer
  5    Adams transported Mr. White to the police station,
  6    Mr. White was given an opportunity to blow on the Drager
  7    test; essentially, a ticket out of the situation that he
  8    was in.    Were he to test under the legal limit, he would
  9    have been free to go.      He chose not to take that ticket.
 10    He chose not to take that exit; essentially, the exit
 11    door that was available for him.
 12                You heard his reasons and why he decided not
 13    to.   But he was told about the implied consent law, that
 14    he was going to lose his license for at least 90 days
 15    should he decide not to take that.        In the face of that,
 16    he went ahead and refused to take the Drager test.
 17                Other factors that you heard from the
 18    testimony yesterday all add up to the influence of
 19    alcohol.    Even the defendant's own testimony said that
 20    he was drinking alcohol that night.        He admitted on the
 21    stand that he was drinking alcohol.
 22                So based on the officer's testimony, based on
 23    what you heard from the defendant, it's reasonable to
 24    conclude that there was an influence of alcohol there.
 25                And further, that last element, that he was
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  1    doing so that he was under the influence of alcohol to
  2    the extent that he was unable to operate a vehicle
  3    safely, can also be proven, can also be shown through
  4    the field sobriety test that he was given.
  5                Again, he was stumbling, he was unable to
  6    perform specific tasks, specific instructions that he
  7    was given.    He was slurring his speech.       All these
  8    indicate a lack of inability of motor skills to do an
  9    important task such as driving, especially as it relates
 10    to safety.
 11                The field sobriety test also, again, speaks to
 12    his ability to operate that vehicle in a safe manner.
 13    Those tests, as testified by the officers yesterday, are
 14    designed to test and pick up on clues that show that a
 15    driver can perform a task that can be correlated to
 16    driving.
 17                Both officers testified that he performed
 18    poorly on this test.      And after observing the
 19    defendant's performance on those tests, the officers
 20    made a determination, formed an opinion, that he was
 21    under the influence of alcohol to such an extent that he
 22    could not operate that vehicle safely.         And you heard
 23    their testimony yesterday.       Both of them testified that
 24    they formed that opinion and in working together they
 25    decided that it was best to get him off the road, to
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  1    arrest him for driving under the influence, and take him
  2    down to the station for further processing.
  3                Mr. White discussed his diabetic condition
  4    yesterday.    Based on the officer's testimony, you heard
  5    that they both gave him ample opportunity to discuss any
  6    medical conditions while they were doing the field
  7    sobriety test.     He had that opportunity, but he failed
  8    to take that opportunity in the field.
  9                Granted, he did mention it at the station
 10    later as part of a joke where he was discussing a
 11    sausage biscuit with Officer Dean, but while in the
 12    field, while he had an opportunity to discuss his
 13    diabetic condition to perhaps give justification as to
 14    his behavior, he failed to take that opportunity, and
 15    only now do we hear about that diabetic condition.
 16                Again, the observations of the officers are
 17    the facts in the case.      You've probably heard the
 18    expression if it looks like a duck, quacks like a duck,
 19    walks like a duck, it's probably a duck.         Well, in this
 20    instance, perhaps it may be a crude analogy, but if
 21    something looks like a drunk driver, acts like a drunk
 22    driver, smells like a drunk driver, talks like a drunk
 23    driver, then it's probably a drunk driver.
 24                The officers, using much more advanced
 25    observations than that analogy, they are able to take
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  1    those field sobriety tests, take the clues that they get
  2    from that and make a good solid determination as to a
  3    driver's ability to operate a vehicle in a safe manner.
  4    Officer Dean and Officer Adams did that on the night of
  5    September 18th at Gate 9 at Redstone Arsenal and they
  6    made a professional determination that Mr. White was
  7    under the influence of alcohol and that he was under the
  8    influence to the extent that he could not operate that
  9    vehicle in a safe manner.
 10                I ask you to take the facts that you heard
 11    yesterday, apply them to the law that will be explained
 12    to you by Judge Davis, and come back with a verdict of
 13    guilty for Mr. White.
 14                THE COURT:    Ms. Pope?
 15                MS. POPE:    Ladies and gentlemen, I would like
 16    to say, first of all, that we appreciate your patience
 17    and your attentive listening during the trial of this
 18    man.   We understand that this can be a tedious process,
 19    but, once again, the system simply does not work without
 20    you, the jury.
 21                As the Judge has said, all the evidence has
 22    been presented.     What Captain Smith tells you just now
 23    and what I'm about to tell you is not evidence.          You
 24    have heard all the evidence that you are going to hear.
 25    So let's just take a brief look over what our view of
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  1    the evidence is.
  2                Mr. White is not denying that he had a drink,
  3    one drink, a cranberry and vodka like he told you,
  4    yesterday from that stand.       He finished that drink
  5    approximately half an hour, give or take a few minutes,
  6    before Ms. Ivy arrived with her two children and then
  7    they piled in his truck and left for the Arsenal.
  8                Ms. Ivy testified on the stand that when she
  9    arrived, which they only stayed there maybe 20 minutes
 10    to a half an hour before they left, he wasn't slurring
 11    his words or that time.      He wasn't staggering around.
 12    She further testified that had he been exhibiting those
 13    behaviors, she wouldn't have gotten in the car.          She was
 14    entrusted with her grandchild and her grandchild's
 15    friend.
 16                They then head off to Redstone Arsenal to Gate
 17    9, not Gate 10 like the officer said.        He knew where he
 18    was going.    He works on the Arsenal every day, has for
 19    some number of years.      He went to Gate 9 because he was
 20    hoping to avoid the lines.       And when he got there, he
 21    was right; there was no line.       He pulled right up to the
 22    gate.   He was pulled over not because he was operating
 23    the vehicle unsafely but because Ms. Ivy had forgot her
 24    identification.
 25                It's when they pulled around to the side of
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  1    the guard shack and the officer leaned in to get his
  2    further ID that they smelled the odor of alcohol.            Then
  3    the other officers arrived.       Officer Dean, I believe,
  4    was first, and he said at that time he had an officer
  5    trainee with him, an Officer Duggin.        He starts
  6    administering the field sobriety test.         He gets through
  7    the walk-and-turn, and then Officer Adams pulls up.           I
  8    hope I'm not reversing their names.        It gets a little
  9    confusing.
 10                Officer Adams testified from that stand that
 11    only he had administered the field sobriety test, but
 12    that clearly was contradicted by Officer Dean who said
 13    he had begun and got through the test when Officer Adams
 14    came and he started over again just to keep the flow of
 15    continuity.    That's all he said, why he started over
 16    again.
 17                And Ms. Ivy testified that with the windows
 18    rolled down she heard the officers discussing whether or
 19    not to place him under arrest.       One officer thought he
 20    was okay; one officer said, No, I think we need to
 21    arrest him, so they thought they would arrest him.           They
 22    arrested him.    They took him to the station.
 23                As far as the field sobriety test goes,
 24    Mr. White admits that he touched down on 13.          He said he
 25    couldn't hold his leg up any longer.        He was wearing
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  1    sandals that provided him no stability, so he touched
  2    down and that's where the test stopped.         At that point
  3    the officer believed he was under the influence and then
  4    he placed him under arrest.
  5                He was then transported to the station.          He
  6    was informed about the implied consent.         He doesn't
  7    remember how he knew but he likely would probably tell
  8    you that that's how he found out, from the officer,
  9    because he didn't know about it prior to going into that
 10    station.    Now, he knew his license would be suspended
 11    but he didn't take the Drager.       Why?   Because everybody
 12    had told him not to.      He had seen it on television, talk
 13    shows; don't blow; don't blow.
 14                Was that sound reasoning?       No, probably not,
 15    but we don't always make decisions based on sound
 16    reasoning.    Sometimes we make decisions based on what
 17    friends tell us or what we see.       It may not be
 18    necessarily true, but we do it.
 19                But the one thing you have to remember:          Him
 20    not taking the breathalyzer test is not an element of
 21    this offense.    The fact that he did not take it is not
 22    an element.    They don't have to prove he did or did not
 23    take it or why he did not take it.        Again, it's not an
 24    element of this offense.
 25                Ladies and gentlemen, Judge Davis has already
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  1    instructed you yesterday and I'm sure you heard so much
  2    stuff that you might not remember but the defendant over
  3    here is presumed innocent until proven guilty beyond a
  4    reasonable doubt that he was under the influence to the
  5    point he could not safely operate the vehicle.          Again,
  6    nobody saw him drive that vehicle.        He is not denying he
  7    drove over there.     He got in, drove his stick shift
  8    truck over there, made it to the Arsenal safely.             They
  9    didn't testify that there had been a wreck or any kind
 10    of traffic violations.      He was stopped going through the
 11    gate, which is normal procedure for going onto the
 12    Arsenal.
 13                From all the evidence that you have heard, we
 14    feel that the Government has not met their burden in
 15    this case, and we would ask you to return a verdict of
 16    not guilty.    Thank you very much.
 17                THE COURT:    Captain Smith?
 18                MR. SMITH:    Ms. Pope is right.     We don't
 19    always make decisions that are based on sound reasoning;
 20    and especially when someone is under the influence of
 21    alcohol, decisions of sound reasoning aren't made.
 22    That's just another illustration that Mr. White's
 23    judgment was impaired and that his ability to operate a
 24    vehicle in a safe manner was impaired that day.
 25                Additionally, as far as implied consent, using
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  1    sound reasoning, if a person had an opportunity to clear
  2    their name to essentially allow themselves to get out of
  3    the situation they were in, they usually take that.
  4    Mr. White did not take that opportunity.         And Ms. Pope
  5    is right.    The person taking the Drager test or not
  6    taking the test is not an element, but it is one factor
  7    that you can consider in the totality of circumstances
  8    in trying to determine whether or not Mr. White was
  9    violating the law of Alabama of drunk driving.
 10                Again, we ask you to take all these things
 11    into consideration and carefully apply the laws of
 12    Alabama and return a verdict of guilty.
 13                (End of closing arguments.)
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                      C E R T I F I C A T I O N



           I hereby certify that the foregoing transcript
      in the above-styled cause is true and accurate.




                      Leah S. Turner, RMR, CRR
                  Federal Official Court Reporter
